                        Case 19-12369-KBO                   Doc 24         Filed 01/01/21            Page 1 of 16

Information to identify the case:
Debtor
                 Dura G.P.                                                             EIN 38−3638092
                 Name


United States Bankruptcy Court District of Delaware                                    Date case filed in chapter 11        10/17/19

Case number: 19−12369−KBO                                                              Date case converted to chapter 7    12/16/20


Official Form 309D (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                  10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue,
assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and
attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.Valid picture ID is required for access to the J.
Caleb Boggs Federal Building. Additionally, Debtor(s) must also present photo ID plus original verification of his/her
social security number to the Bankruptcy Trustee. If you do not have a photo ID and/or original verification of your
social security number, please contact the Office of the United States Trustee's (302−573−6491).
1. Debtor's full name                  Dura G.P.
2. All other names used in
    the last 8 years
3. Address                             2200 Helton Dr.
                                       Lawrenceburg, TN 38464
4. Debtor's attorney                   WILLIAM L NORTON III                                      Contact phone 615 252−2397
   Name and address                    BRADLEY ARANT BOULT CUMMINGS LLP
                                       PO BOX 340025                                             Email: NONE
                                       NASHVILLE, TN 37203
5. Bankruptcy trustee                  Jeoffrey L. Burtch                                       Contact phone 302−472−7427
   Name and address                    P.O. Box 549
                                       Wilmington, DE 19899                                     Email: jburtch@burtchtrustee.com
6. Bankruptcy clerk's office 824 Market Street, 3rd Floor                                        Hours open: Monday − Friday 8:00 AM −
   Documents in this case may Wilmington, DE 19801                                               4:00 PM
   be filed at this address.
   You may inspect all records                                                                   Contact phone 302−252−2900
   filed in this case at this office
   or online at                                                                                  Date: 12/30/20
   https://pacer.uscourts.gov.
7. Meeting of creditors                January 21, 2021 at 10:00 AM                     Location:
   The debtor's representative                                                          844 King Street, Room 3209,
   must attend the meeting to be       The meeting may be continued or adjourned to a Wilmington, DE 19801
   questioned under oath.              later date. If so, the date will be on the court
   Creditors may attend, but are       docket.
   not required to do so.

                                                                                                 For more information, see page 2 >




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Debtor Dura G.P.                                                                                              Case number 19−12369−KBO

8. Deadlines                           Deadline for all creditors to file a proof of claim Filing deadline: 2/24/21
   The bankruptcy clerk's office       (except governmental units):
   must receive proofs of claim
   by the following deadlines.         Deadline for governmental units to file a proof Filing deadline: 6/14/21
                                       of claim:
                                       A proof of claim is a signed statement describing a creditor's claim. A proof of claim form
                                       may be filed either electronically or as a paper document. For more information on how to file
                                       a Proof of Claim, visit the Delaware Bankruptcy Court's website at
                                        www.deb.uscourts.gov/claims−information or any bankruptcy clerk's office. If you do not file
                                       a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must
                                       file a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                       Secured creditors retain rights in their collateral regardless of whether they file a proof of
                                       claim. Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court,
                                       with consequences a lawyer can explain. For example, a secured creditor who files a proof
                                       of claim may surrender important nonmonetary rights, including the right to a jury trial.


9. Creditors with a foreign           If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   address                            asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                      United States bankruptcy law if you have any questions about your rights in this case.

10. Liquidation of the                 The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    debtor's property and              property. If the trustee can collect enough money, creditors may be paid some or all of the
                                       debts owed to them, in the order specified by the Bankruptcy Code. To ensure you receive
    payment of creditors'              any share of that money, you must file a proof of claim, as described above.
    claims
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                                                              United States Bankruptcy Court
                                                                   District of Delaware
In re:                                                                                                                 Case No. 19-12369-KBO
Dura G.P.                                                                                                              Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0311-1                                                  User: Cheryl                                                               Page 1 of 14
Date Rcvd: Dec 30, 2020                                               Form ID: 309D                                                           Total Noticed: 657
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).

++++             Addresses marked '++++' were modified by the USPS Locatable Address Conversion System. This system converts rural route numbers to street
                 addresses.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 01, 2021:
Recip ID                   Recipient Name and Address
db                     +   Dura G.P., 2200 Helton Dr., Lawrenceburg, TN 38464-4611
aty                    +   Daniel N. Brogan, Bayard, P.A., 600 N. King Street, suite 400, Wilmington, DE 19801-3779
aty                    +   Erin R Fay, Bayard, P.A., 600 North King Street, Suite 400, Wilmington, DE 19801-3779
aty                    +   WILLIAM L NORTON, III, BRADLEY ARANT BOULT CUMMINGS LLP, PO BOX 340025, NASHVILLE, TN 37203-0025
tr                     +   Jeoffrey L. Burtch, P.O. Box 549, Wilmington, DE 19899-0549
clagent                +   Prime Clerk LLC, www.primeclerk.com, One Grand Central Place, 60 East 42nd St, Suite 1440, New York, NY 10165-1446
15755137               +   AACOA Extrusions, Inc., 2005 MAYFLOWER RD, NILES, MI 49120-8625
15755139                   ACE American Insurance Company, Duane Morris LLP, Wendy M. Simkulak, Esquire, 30 S. 17th Street, Philadelphia, PA 19103-4196
15755140               +   ACE American Insurance Company, c/o Chubb f/k/a ACE, Attn: Collateral Manager, 436 Walnut Street, Philadelphia, PA 19106-3703
15755144               +   ADVANCE FREIGHT TRAFFIC SERV, 50845 MOUND ROAD, SHELBY TWP, MI 48317-1322
15755145               +   ADVANCED AUTO TRENDS, 2230 METAMORA RD, OXFORD, MI 48371-2347
15755146               +   ADVANCED CONTROL SOLUTIONS, 1400 WILLIAMS DR, MARIETTA, GA 30066-6288
15755147               +   ADVANCED FABRICATION TECH, 687 BRYNE INDUSTRIAL DR. NE, ROCKFORD, MI 49341-1085
15755148               +   AFX Industries, LLC, Attn: Julie Ainsworth, 1411 Third Street, Suite G, Port Huron, MI 48060-5480
15755149               +   AFX Industries, LLC, Lambert Leser, Keith A. Schofner, 755 W. Big Beaver Rd. Suite 410, Troy, MI 48084-4903
15755150               +   AGC, AGC Glass Company North America, c/o Paul Garland, 700 AFG Road, Church Hill, TN 37642-4720
15755151               +   AGC AUTOMOTIVE-OH (AMERICAS), PO BOX 819, 1465 WEST SANDUSKY AVENUE, BELLEFONTAINNE, OH 43311-1082
15755152                   AGC FLAT GLASS NORTH AMERICA, DBA AGC AUTOMOTIVE AMERICAS, BELLETECH CORP, BELLEFONTAINE, OH
                           43311
15755153               +   AIM DISTRIBUTION INC, 510 18TH AVE, ROCKFORD, IL 61104-5131
15755154               +   AIR PRODUCTS & CHEMICALS, 7201 HAMILTON BLVD., ALLENTOWN, PA 18195-1501
15755155               +   AIRGAS USA LLC, 4646 LINDEN ROAD, ROCKFORD, IL 61109-3300
15755156               +   ALABAMA ELECTRIC MOTOR SERV., 1714 WALL STREET, SHEFFIELD, AL 35660-3599
15755159               +   ALL INTERGRATED SOLUTIONS, 5075 CLAY AVE, GRAND RAPIDS, MI 49548-5502
15755157               +   ALL Integrated Solutions, Holland & Knight LLP, c/o Lynne B. Xerras, Esq., 10 St. James Avenue, Boston, MA 02116-3889
15755158               +   ALL Integrated Solutions, Greg Schmidt, 8625 Industrial Drive, Franksville, WI 53126-9342
15755160               +   ALLIED ELECTRONICS, 7410 PEBBLE DRIVE, FORT WORTH, TX 76118-6961
15755162               +   ALLSOURCE TRANSPORTATION LLC, PO BOX 934, LAWRENCEBURG, TN 38464-0934
15755164               +   AMESBURY INDUSTRIES, INC., 159 WALKER ROAD, STATESVILLE, NC 28625-2535
15755165               +   AMG FORWARDING CORPORATION D, 1474 W. PRICE RD. SUITE 107, BROWNSVILLE, TX 78520-8687
15755169               +   ANKURA TRUST COMPANY, LLC, AS AGENT, 214 NORTH MAIN STREET, CONCORD, NH 03301-5050
15755170               +   ANKURA TRUST COMPANY, LLC, AS AGENT, C/O WALLER LANDSEN DORTCH & DAVIS LLP, ATTN: JOHN TISCHLER,
                           KATIE STENBERG, TYL, 511 UNION STREET, SUITE 2700, NASHVILLE, TN 37219-1791
15755171               +   ANTAYA TECHNOLOGIES CORP., 72 FENNER ST., CRANSTON, RI 02910-2221
15755173               +   AOC METALWORKS, 2005 LIBERTY AVENUE, PO BOX 98, LAWRENCEBURG, TN 38464-0098
15755174               +   APERAM STAINLESS SERVICE & SOLUTIONS USA, CARL DIBENEDETTO, 98 FLORAL AVENUE, SUITE 102, NEW
                           PROVIDENCE, NJ 07974-1542
15755175               +   APERAM STAINLESS SERVICE & SOLUTIONS USA, 6775 CENTER DR., STERLING HEIGHTS, MI 48312-2627
15755176               +   APEX INTERGRATED SOLUTIONS, 2002 E LEE RD, TAYLORS, SC 29687-3544
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District/off: 0311-1                                      User: Cheryl                                                         Page 2 of 14
Date Rcvd: Dec 30, 2020                                   Form ID: 309D                                                     Total Noticed: 657
15755180        + ARAMARK UNIFORM SERVICES, #2 WEST INDUSTRIAL, FULTON, MO 65251-1002
15755179        + ARAMARK Uniform & Career Apparel, LLC, Hawley Troxell Ennis & Hawley LLp, c/o Sheila R. Schwager, P.O. Box 1617, Boise, ID
                  83701-1617
15755182        + ARBOR GAGE & TOOLING, INC., 2031 CALVIN AVE SE, GRAND RAPIDS, MI 49507-3305
15755184          ARMADA TOOLWORKS LTD, 6 LOF DRIVE, PO BOX 535, LINDSEY,ON,K9V 4S5,CANADA
15755187        + ASSURANCE OPERATION CORP D/B/A AOC METAL, JOSEPH J VIDMAR, 980 N FEDERAL HIGHWAY, STE 315, BOCA
                  RATON, FL 33432-2744
15755188        + ASSURANCE OPERATION CORP D/B/A AOC METAL, 2005 LIBERTY AVENUE, PO BOX 98, LAWRENCEBURG, TN
                  38464-0098
15755189          ASTRO SHAPES LLC, 65 MAIN STREET, STRUTHERS, OH 44471-1942
15755190        + ATLAS COPCO TOOLS & ASSEMBLY SYSTEMS LLC, 3301 CROSS CREEK PARKWAY, AUBURN HILLS, MI 48326-2839
15755192          AVM Industries, HWY 76 EAST, MARION, SC 29571
15755138        + Aaron Inc., c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755141        + Ace Machine & Metal Fab Co, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755143        + Adient PLC, Dickinson Wright PLLC, Doron Yitzchaki, 350 S. Main Street, Suite 300, Ann Arbor, MI 48104-2131
15755161        + Allitex LLC, c/o Fair harbor Capital LLC, PO Box 237037, New York, NY 10023-0028
15755163        + Amazon Capital Services Inc, 410 TERRY AVE N, SEATTLE, WA 98109-5210
15755166        + Ankura Trust Company, LLC, Ryan M. Roy, 1 Beacon Street, Floor 15, Boston, MA 02108-3107
15755167        + Ankura Trust Company, LLC, Attn: Krista Gulalo, 140 Sherman Street, 4th Floor, Fairfield, CT 06824-5849
15755168        + Ankura Trust Company, LLC, Milbank LLP, Attn: Eric Stodola, Andrew Harmeyer, 55 Hudson Yards, New York, NY 10001-2163
15755172        + Antrim Machine Products, Inc., PO box 237037, New York, NY 10023-0028
15755177          Applied Industrial Tech, 6090 GRAND HAVEN RD, NORTON SHORES, MI 49441-6014
15755178        + Applied Scale Technology, 3012 AMBROSE AVENUE, NASHVILLE, TN 37207-4710
15755183        + Arbor Oakland Group, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755185        + Armada Toolworks Ltd., c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755186        + Ashley Enterprise, 29 EMMA MAY DRIVE, FAYETTEVILLE, TN 37334-4865
15755191        + Automatic Spring Products Corporation, Scott Zylstra, 803 Taylor Ave, Grand Haven, MI 49417-2159
15755193        + BERTELKAMP AUTOMATION, INC., PO BOX 11488, 6321 BAUM DRIVE, KNOXVILLE, TN 37919-9562
15755194        + BM Properties, PO BOX 357, 235 WATERLOO STREET, LAWRENCEBURG, TN 38464-3626
15755195        + BMW GROUP, SEANN TZOUVELEKAS, ASSISTANT GENERAL COUNSEL, BMW MANUFACTURING 1400 HIGHWAY 101 S,
                  GREER, SC 29651-6731
15755196        + BMW GROUP, JAFFE RAITT HEUER & WEISS, P.C., RICHARD KRUGER, ESQ., 27777 FRANKLIN RD., STE. 2500,
                  SOUTHFIELD, MI 48034-8222
15755198          BOLLHOFF INC, #4 - 85 ROYAL CREST CT, MARKHAM,ON,L3R 9X5,CANADA
15755199        + BOLLHOFF, INC., 2705 MARION DRIVE, KENDALLVILLE, IN 46755-3280
15755205        + BRONCO REHAB LLC, 305 2ND ST, LAWRENCEBURG, TN 38464-3417
15755206          BROSE MEXICO SA, AV DE LA CORTE NO 4, PARQUE INDUSTRIAL EL MARQUES, QUERETARO,,76246,MEXICO
15755197        + Bollhoff Inc, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755200        + Bombardier Transportation Canada Inc., Wilson Elser Moskowitz Edelman & Dicker, Mark G. Ledwin, Esq., 1133 Westchester Avenue,
                  New York, NY 10604-3516
15755201        + Booth Felt Company, 1 PROGRESS DRIVE, DOVER, NH 03820-5537
15755202        + Border Contracting Services, PO BOX 135, PEMBINA, ND 58271-0135
15755203        + Boston Matthews, Inc., c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755204        + Bradford Capital Holdings, LP, c/o Bradford Capital Management, LLC, Attn: Brian Brager, PO Box 4353, Clifton, NJ 07012-8353
15755207        + BrydgeWorks, LLC, 3315 HARPINE HIGHWAY, HARRISONBURG, VA 22802-1027
15755208          Bungartz Christophersen Partnerschaft, Im Mediapark 6a, Cologne,,50670 ,Germany
15755210        + CAMCAR LLC-BELVIDERE, 826 E. MADISON STREET, BELVIDERE, IL 61008-2899
15755213        + CARLEX GLASS PLANT, 77 EXCELLENCE WAY, VONORE, TN 37885-2123
15755214        + CDW Computer Centers Inc, 200 N MILWAUKEE AVE, VERNON HILLS, IL 60061-1577
15755216        + CHOCTAW-KAUL DISTRIBUTION COMPANY, 3540 VINEWOOD STREET, DETRIOT, MI 48208-2363
15755219        + CINCINNATI TOOL STEEL CO, 5190 28TH AVE, ROCKFORD, IL 61109-1756
15755223        + CKP, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755224        + CLIFFORD-WALD & CO., INC., 255 EAST HELEN RD, PALATINE, IL 60067-6954
15755226        + COLE MOTORSPORTS LLC, 545 AIRPORT RD, BLUEFIELD, WV 24701-7388
15755228        + COMPLETE PROTOTYPE SERVICES, 44783 MORLEY DRIVE, CLINTON TOWNSHIP, MI 48036-1357
15755231        + CONTINENTAL MACHINE, 6715 W. STATE RD., ROCKFORD, IL 61102-1274
15755232          COOPERSTANDARD, 703 DOURO STREET, STRATFORD,ON,N5A 3T1,CANADA
15755233        + CORNERSTONE RACK & TOOLING, P.O. BOX 873 2006 REMKE AVE., LAWRENCEBURG, TN 38464-0873
15755235        + CREATIVE EXTRUDED PRODUCTS, 1414 COMMERCE PARK DR, TIPP CITY, OH 45371-2800
15755236        + CREATIVE FOAM PRODUCTS, 300 NORTH ALLOY DRIVE, FENTON, MI 48430-2649
15755237        + CRG Financial LLC, 100 Union Avenue, Cresskill, NJ 07626-2141
15755238        + CRG Financial LLC (Ballman Metals, LLC), 100 Union Avenue, Cresskill, NJ 07626-2141
15755239        + CRG Financial LLC (Cornerstone Rack & To, 100 Union Avenue, Cresskill, NJ 07626-2141
15755240        + CRG Financial LLC (Mid-West Spring Mfg., 100 Union Avenue, Cresskill, NJ 07626-2141
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Date Rcvd: Dec 30, 2020                                     Form ID: 309D                                                    Total Noticed: 657
15755241            CRISTAL LAMINADO O TEMPLADO,, S.A. DE C.V., LATERAL NTE.AUTOPISTA MANZ19, TEPEJI DEL RIO,,42850,MEXICO
15755242            CRISTALES AUTOMOTRICES DE JALISCO SA DE, CALLE 32 # 2070, GUADALAJARA,,44940,MEXICO
15755243        +   CROWN GROUP CO, 12020 SHELBY TECH DR, SHELBY TOWNSHIP, MI 48315-1789
15755244        +   CUMBERLAND DIE SUPPLY, 747 DOUGLAS AVENUE, PO BOX 70118, NASHVILLE, TN 37207-0118
15755246        +   CUSTOM GLASS SOLUTIONS, MILLBURY CORP., 24145 W MOLINE -MARTIN ROAD, MILLBURY, OH 43447-9568
15755211        +   Carlex Glass America, LLC, Bass, Berry & Sims PLC, c/o Paul G. Jennings, 150 Third Ave. S. Suite 2800, Nashville, TN 37201-2017
15755212        +   Carlex Glass America, LLC, Mike Rister, 7200 Centennial Boulevard, Nashville, TN 37209-1013
15755215            China Patent Agent (HK) Ltd, 22/F, Great Eagle Center, 23 Harbour Road, Wanchai,,,Hong Kong
15755217        +   Chongqing Hoosen Technology Co., Ltd, c/o Max J. Newman, Butzel Long, 41000 Woodward Ave Stoneridge West, Bloomfield Hills, MI
                    48304-5130
15755218            Chongqing Hoosen Technology Co., Ltd, NanXi Economic Park 38#, JingKou Town Shingaba District, Chongqing,,400032,China
15755220        +   Cintas First Aid & Safety, 3631 44TH ST S E, KENTWOOD, MI 49512-3971
15755222        +   City of Lawrenceburg TN, White & Betz Attorneys, Alan C. Betz, Attorney, P.O. Box 488, Lawrenceburg, TN 38464-0488
15755221        +   City of Lawrenceburg TN, 25 Public Square, Lawrenceburg, TN 38464-3350
15755225        +   Coastal Automation and Supply, P.O. Box 237037, New York, NY 10023-0028
15755227        +   Complete Prototype Services, PO Box 237037, New York, NY 10023-0028
15755229        +   Connor Corporation, Krieg DeVault LLP, Kay Dee Baird, Esq, One Indiana Square, Suite 2800, Indianapolis, IN 46204-2017
15755230        +   Connor Corporation, Rick Ludwig, Director of Finance and Administration, 3330 Congressional Parkway, Fort Wayne, IN 46808-4439
15755234        +   Corporation Service Company, as Represen, 2711 CENTERVILLE ROAD, SUITE 400, WILMINGTON, DE 19808-1645
15755245        +   Cumberland Die Supply c/o Fair Harbor Ca, PO Box 237037, New York, NY 10023-0028
15755254        +   DMS, 1068 ELKTON DRIVE, COLORADO SPRINGS, CO 80907-3538
15755255        +   DONN ROLL INC, 2328 NORTH YARD COURT, FORT WAYNE, IN 46818-8973
15755257            DQS INC., 1500 MCCONNOR PKWY STE 400, SCHAUMBURG, IL 60173-4330
15755258        +   DSSI, LLC, 40 OAK HOLLOW STREET, SUITE 225, SOUTHFIELD, MI 48033-7479
15755259        +   DUDEK & BOCK SPRING MFG CO, 5100 WEST ROOSEVELT ROAD, CHICAGO, IL 60644-1437
15755247        +   Delchem, Inc, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755249            Deloitte LLP, 150 MIDSUMMER BLVD., BUCKINGHAMSHIRE,,MK9-1FD,UNITED KINGDOM
15758560        +   Department of Labor, Division of Unemployment Insurance, P.O. Box 9953, Wilmington, DE 19809-0953
15755253        +   Designetics, Inc., 1624 SOUTH EBER ROAD, HOLLAND, OH 43528-9776
15755256        +   Donn Roll Inc., c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755260        +   Dura Operating, LLC c/o Fair Harbor Capi, PO Box 237037, New York, NY 10023-0028
15755262        +   ELECTRA FINISH INC, 201 ART BRYAN DR, ASHEBORO, NC 27203-3076
15755264        +   ELLSWORTH ADHESIVES, W129 N10825 WASHINGTON DRIVE, GERMANTOWN, WI 53022-4446
15755265        +   ENGEL MACHINERY, INC., 3740 BOARD RD., YORK, PA 17406-8425
15755266        +   ERBSLOEH ALUMINUM SOLUTIONS, 6565 S SPRINKLE RD, PORTAGE, MI 49002-9717
15755270            ESSENCE FASTENING SYSTEM (SHANGHAI) CO L, NO 39,100 LN OF FENGSHUO RD, SHANGHAI,,201818,CHINA
15755272        +   EVONIK CYRO LLC, 299 JEFFERSON RD, PARSIPPANY, NJ 07054-2827
15755274        +   EXTRUDEX, INC., 310 FIGGIE ROAD, PAINESVILLE, OH 44077-3028
15755261        +   Edwards Oil Company of Lawrenceburg, Inc, PO BOX 807, LAWRENCEBURG, TN 38464-0807
15755267            Erbsloeh Aluminum Solutions, Inc., c/o Max J. Newman, Butzel Long, a Professional Corporation, 41000 Woodward Stoneridge West,
                    Bloomfield Hills, MI 48304
15755269        +   Erin Industries, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755271        +   Essence Fastening Systems (Shanghai) Co., Butzel Long, Thomas Radom, 41000 Woodward Avenue Stoneridge West, Bloomfield Hills,
                    MI 48304-5178
15755273        +   Evonik Cyro LLC, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenuem Suite 240, Cresskill, NJ 07626-2137
15755275            FABRICATED MATERIALS INC, 2554 S ROCHESTER RD, ROCHESTER HILLS, MI 48307-3817
15755284        +   FITZGERALD EQUIPMENT, 4650 BOEING DRIVE, ROCKFORD, IL 61109-2996
15755276        +   Fair Harbor Capital LLC, PO Box 237037, New York, NY 10023-0028
15755277        +   Fair Harbor Capital LLC assignee of Orbi, PO Box 237037, New York, NY 10023-0028
15755278        +   Fair Harbor Capital LLC of Cedillo Enter, PO Box 237037, New York, NY 10023-0028
15755279            Fastoco Industries, Inc., PO Box 141427, Grand Rapids, MI 49514-1427
15755280            Federal Insurance Company, Duane Morris LLP, Wendy M. Simkulak, Esquire, 30 S. 17th Street, Philadelphia, PA 19103-4196
15755281        +   Federal Insurance Company, c/o Chubb, Attn: Collateral Manager, 436 Walnut Street, Philadelphia, PA 19106-3703
15755282        +   Ferrellgas, 10522 NORTH SECOND STREET, MACHESNEY PARK, IL 61115-1405
15755285        +   Ford Motor Company, McGuireWoods LLP, Attn: Mark E. Freedlander, Tower Two-Sixty 260 Forbes Ave, Ste 1800, Pittsburgh, PA
                    15222-1892
15755286        +   Ford Motor Company, Keith Krueger, Purchasing Manager - Supply Risk Mgmt, 18900 Michigan Avenue, Dearborn, MI 48126-3929
15755287        +   Freese Enterprise Inc., c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755288            Fuyao Glass Industry Group, NO 1, FUYAO INDUSTRIAL ZONE, HONGLU TOWN, FUQING,,350301,CHINA
15755289        +   G/S SOLUTIONS, 3290 W. BIG BEAVER RD, STE 200, TROY, MI 48084-2908
15755290        +   GASKA TAPE INC., PO BOX 1968, ELKHART, IN 46515-1968
15755292        +   GEMINI PLASTICS, INC., 4385 GARFIELD STREET, PO BOX 237, UBLY, MI 48475-0237
15755294        +   GLOBAL FIRE SPRINKLERS, LLC, 4242 BRYSON BLVD, FLORENCE, AL 35630-7319
15755295            GOOD HIRE, 555 TWIN DOLPHIN DRIVE, SUITE 200, REDWOOD, CA 94065-2134
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15755296         + GP INDUSTRIES USA INC, 603 MANATEE BAY DRIVE, CAPE CANAVERAL, FL 32920-4320
15755291         + Ge Capital Commercial Inc., 800 LONG RIDGE ROAD, STAMFORD, CT 06902-1227
15755293         + Gill's Freeport Disposal, PO BOX 64, 74915-002, FREEPORT, IL 61032-0064
15755297           Great Northern Insurance Company, Duane Morris LLP, Wendy M. Simkulak, Esquire, 30 S. 17th Street, Philadelphia, PA 19103-4196
15755298         + Great Northern Insurance Company, c/o Chubb, Attn: Collateral Manager, 436 Walnut Street, Philadelphia, PA 19106-3703
15755299         + Griffith Rubber Mills, 400 N. TAYLOR RD., GARRETT, IN 46738-1846
15755300         + H B BRINK & CO., INC., 134 DEPOT ST, PO BOX 645, LAWRENCEBURG, TN 38464-0645
15755303           HIBSHMAN SCREW MACHINE PROD, P.O. BOX 138, UNION, MI 49130-0138
15755301         + Hain Capital Investors Master Fund, Ltd, Attn: Cheryl Eckstein, 301 Route 17, 7th Floor, Rutherford, NJ 07070-2575
15755302         + Heritage-Crystal Clean, LLC, 3970 W 10TH STREET, INDIANAPOLIS, IN 46222-3269
15755305         + ILPEA INDUSTRIES, INC., Kathy A. Stewart, 745 S. Gardner St., Scottsburg, IN 47170-2178
15755306           ILPEA INDUSTRIES, INC., 7351 SOLUTION CENTER, CHICAGO, IL 60677-7003
15755310           INGENIERIA Y SERVICIOS OLMO, FRAY JOSE DE LA CORUQA 273, COL QUINTAS DEL MARQUES,
                   QUERETARO,,76047,MEXICO
15755311         + INGERSOLL RAND COMPANY, 12774 O'CONNER RD., SAN ANTONIO, TX 78233-5500
15755313         + INLINE FASTENER, INC., 480 CROSSEN AVENUE, ELK GROVE VILLAGE, IL 60007-2004
15755314         + INSYTE SOLUTIONS, INC., 100 HANNON DRIVE, LAWRENCEBURG, TN 38464-2273
15755315           IRONMONGER SPRING, 7585 US HWY 35 S, WALTON, IN 46994
15755316         + ITW DELTAR TEKFAST, 21555 SOUTH HARLEM AVE., FRANKFORT, IL 60423-6017
15755309         + Informs, Inc., Barcodes, Inc., Timothy Dara Amlung Assistant Controller, 200 W. Monroe St. Suite 2300, Chicago, IL 60606-5088
15755312         + Ingersoll-Rand, 436 HARDING INDUSTRIAL DR, NASHVILLE, TN 37211-3106
15755317         + J V Equipment Inc, 2421 S EXPRESSWAY 281, EDINBURG, TX 78542-1802
15755318         + J-COM EDI SERVICES, INC., 3660 BESSEMER ROAD, SUITE 100, MOUNT PLEASANT, SC 29466-7232
15755319         + JACOBSEN INDUSTRIES INC, 12173 MARKET ST, LIVONIA, MI 48150-1166
15755320         + JANI-KING OF COLUMBIA, 3610 BUTTONWOOD DRIVE, SUITE 310, COLUMBIA, MO 65201-3721
15755323        #+ JOBVITE, 1300 SOUTH EL CAMINO REAL, SUITE 400, SAN MATEO, CA 94402-2970
15755324           JTECH CORP, #1121, ROSEDALE B/D, 724, SUSEO-DONG, GANGNAM-GU, SEOUL,,135-744,KOREA
15755321         + Jo Daviess County Collector, JO DAVIESS COUNTY TREASURER - RM 120, 330 NORTH BENCH STREET, GALENA, IL
                   61036-1848
15755322         + Job Finders Employment Svcs, 1729 WEST BROADWAY #4, COLUMBIA, MO 65203-1190
15755326         + K&I HARD CHROME, 1900 EAST MAIN STREET, NEW ALBANY, IN 47150-5798
15755327         + KAUFFMAN ENGINEERING INC., 830 S. STATE RD 25, PO BOX 658, LOGANSPORT, IN 46947-0658
15755328         + KELLER USA INC, 2168 CAROLINA PLACE DR, FORT MILL, SC 29708-6998
15755329         + KENCO, PO BOX 364, LAPORT, IN 46352-0364
15755330         + KENT MANUFACTURING CO, 2200 OAK INDUSTRIAL DR NE, GRAND RAPIDS, MI 49505-6016
15755333         + KENWAL/ FAURECIA STEEL, 8223 WEST WARREN AVE, DEARBORN, MI 48126-1615
15755334         + KENWAL/FORD RESALE, 8223 WEST WARREN AVE, PO BOX 4359, DEARBORN, MI 48126-0359
15755336           KERN LIEBERS MEXICO, S.A., AV. EL TEPEYAC 11080,, PARQUE INDUSTRIAL, EL MARQUES,QUERETARO,76250,MEXICO
15755338         + KERNELLS AUTOMATIC MACHINING, 10511 SR 61, PO BOX 41, BERLIN HEIGHTS, OH 44814-0041
15755340           KH VIVES, S.L., PI REYJUAN CARLOS I, CL GREGAL 2, ALMUSSAFES,,46440,SPAIN
15755341           KILIAN MANUFACTURING CORP A DIVISION OF, INDUSTRIAL MOTION, SYRACUSE, NY 13217
15755342         + KISSSOFT U.S.A., LLC, 3719 SPRING GROVE ROAD, JOHNSBURG, IL 60051-5950
15755343           KLIEMT & VOLLSTADT, SPEDITIONSTRABE 21, D 40221, DUSSELDORF,,40221,GERMANY
15755345         + KOMATSU AMERICA INDUSTRIES, 1701 GOLF ROAD, SUITE 300, ROLLING MEADOWS, IL 60008-4208
15755346         + KORN FERRY HAY GROUP, 33 SOUTH 6TH STREET, SUITE 4900, MINNEAPOLIS, MN 55402-3716
15755347         + KPIT INFOSYSTEMS, INCORPORATED, 379 THORNALL ST., EDISON, NJ 08837-2225
15755348         + KPIT TECHNOLOGIES INC, 28001 CABOT DR, STE 100, NOVI, MI 48377-2958
15755332         + Kenwal Steel Corp., c/o Kristin M. Ynclan, 8223 W. Warren Avenue, P.O. Box 4359, Dearborn, MI 48126-0359
15755331         + Kenwal Steel Corp., 8223 W. Warren Ave, Dearborn, MI 48126-1615
15755335         + Kenwal/JCI Resale, 8223 W. WARREN AVE., PO BOX 4359, DEARBORN, MI 48126-0359
15755337         + Kernells Automatic Machining, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755349           L&L PRODUCTS, 160 MCLEAN DRIVE, PO BOX 308, ROMEO, MI 48065-0308
15755350         + L&P Financial Services, Butzel Long, P.C., c/o Max Newman, 41000 Woodward Ave Stoneridge West, Bloomfield Hills, MI 48304-5178
15755351         + L&P Financial Services, Leggett & Platt Incorporated, Attn: Allyson Helms, No 1 Leggett Rd, Carthage, MO 64836-9649
15755352         + LABEL & GRAPHIC PROMOTIONS, 221 WOODWARD ST., ZEELAND, MI 49464-1035
15755353         + LAIRD PLASTICS, 135 FIELDCREST AVE., EDISON, NJ 08837-3622
15755354         + LAKE MARTIN WELLINGTON LLC, 218 MCCLELLAN INDUSTRIAL DR, KELLYTON, AL 35089-2846
15755355         + LAKESIDE CASTING SOLUTIONS, #2 LAKESIDE DRIVE, MONROE CITY, MO 63456-1480
15755357         + LAMBDA RESEARCH CORP, 25 PORTER RD, LITTLETON, MA 01460-1434
15755358         + LAUREN PLASTICS, 17155 VAN WAGONER RD, SPRING LAKE, MI 49456-9793
15755360         + LAWRENCE COUNTY ADVOCATE, PO BOX 308, 121 N. MILITARY AVE., LAWRENCEBURG, TN 38464-3323
15755364           LAWSON PRODUCTS, ATTN: DAVE NOLL, ADDISON, IL 60101
15755365         + LDRA Technology INC, BUILDING ONE 700 PEACHTREE, DUNWOODY ROAD, ATLANTA, GA 30308
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15755368        + LEE COUNTY LANDFILL, 1214 S BATAAN RD, DIXON, IL 61021-8308
15755370        + LEWIS ELECTRIC SUPPLY, INC., 1306 SECOND STREET, PO BOX 2237, MUSCLE SHOALS, AL 35662-2237
15755372          LIBERTY SPRING (TORONTO) INC, 25 WORCESTER RD, TORONTO,ON,M9W 1K9,CANADA
15755374        + LINKEDLN CORPORATION, 2029 STIERLIN COURT, MOUNTAIN VIEW, CA 94043-4655
15755375        + LOESCHER PLUMBING/HEATING CONDITIONING, 1860 S. WALNUT, FREEPORT, IL 61032-9523
15755378        + LORD CORPORATION, CHEMICAL PRODUCTS DIVISION, 2000 WEST GRANDVIEW BLVD, ERIE, PA 16509-1029
15755379        + LORENTSON MFG CO INC, PO BOX 932, KOKOMO, IN 46903-0932
15755380        + LORENTSON MFG CO SOUTHWEST, 2101 AMISTAD DR, SAN BENITO, TX 78586-8585
15755381        + LPMS - USA Inc., c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755382        + LPMS-USA Inc, 1441 BRANDING LANE, SUITE 110, DOWNERS GROVE, IL 60515-5624
15755383        + LTI BOYD, 4000 E BRISTOL ST STE 3, ELKHART, IN 46514-6949
15755384        + LUCERNE INTERNATIONAL INC, 40 CORPORATE DR, AUBURN HILLS, MI 48326-2918
15755356        + Lakeside Casting Solutions, 2 Lakeside Drive, Monroe City, MO 63456-1480
15755359        + Laurent & Charras, c/o Lippes Mathias Wexler Friedman LLP, Attn: John A. Mueller, 50 Fountain Plaza, Suite 1700, Buffalo, NY
                  14202-2216
15755362        + Lawrence County Advocate, 121 North Military Avenue, P.O. Box 308, Lawrenceburg, TN 38464-0308
15755361        + Lawrence County Advocate, P.O. Box 308, Lawrenceburg, TN 38464-0308
15755363        + Lawrence County Solid Waste, 219 CENTENNIAL BLVD., LAWRENCEBURG, TN 38464-3208
15755366        + Lean Process Imprvmnt Conslt, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755367        + Lean Process Imprvmnt Conslt, RICHARDS WILLIAMS, 12085 DEER CREEK CIRCLE, PLYMOUTH, MI 48170-2857
15755369        + Lee Horneyer Co, 11537 ADIE ROAD, MARYLAND HGTS, MO 63043-3535
15755371        + Lewisburg Rubber & Gasket, PO BOX 2331, 140 WOODSIDE AVE., LEWISBURG, TN 37091-2866
15755373        + Life Safe Servcies Detroit, 5971 POWERS AVE, SUITE 8, JACKSONVILLE, FL 32217-1209
15755377        + LogMeIn USA, Inc., 320 SUMMER STREET, BOSTON, MA 02210-1701
15755376        + Logicalis Inc, 2600 S. Telegraph Road, Suite 200, Bloomfield Hills, MI 48302-0969
15755385        + Lucerne International Inc, Warner Norcross and Judd LLP, Attn: Susan M. Cook, 715 E. Main Street Suite 110, Midland, MI 48640-5488
15755386        + M SPINELLO & SON, 522 CHESTNUT STREET, ROCKFORD, IL 61102-2236
15755388          MADICO INC, 9251 BELCHER RD N STE A, PINELLAS, FL 33782-4203
15755389        + MAGNA SEATING OF AMERICA, SEATING SYSTEMS OF LAREDO, 1319 SALINAS AVE., LAREDO, TX 78040-6368
15755390        + MARSH PLATING CORPORATION, 103 N. GROVE STREET, YPSILANTI, MI 48198-2906
15755391        + MARTECK CORP., 609 NORTH AULT STREET, MOBERLY, MO 65270-2508
15755393        + MBR DISTRIBUTORS, 1330 HOLMES ROAD, ELGIN, IL 60123-1202
15755395        + MCCLAIN TOOL & TECHNOLOGY, 106 WELDON PKWY, MARYLAND HEIGHTS, MO 63043-3102
15755396        + MCDONALD HOPKINS LLC, WILLIAM O. LINDOW, 600 SUPERIOR AVENUE EAST, SUITE 2100, CLEVELAND, OH
                  44114-2690
15755399          MCS OFFICE EQUIPMENT LLC, 634 N MORELY ST, UNIT A, MOBERLY, MO 65270
15755400        + MECCO PARTNER LLC DBA MECCO, 290 EXECUTIVE DR SUITE 200, CRANBERRY TOWNSHIP, PA 16066-6436
15755401        + MECHANICAL SIMULATION CORP., 755 PHOENIX DRIVE, ANN ARBOR, MI 48108-2222
15755402          MEGAFOAM INC, 1 REGALCREST COURT, WOODBRIDGE,ON,L4L 8P3,CANADA
15755407        + MERCER (US) INC, PO BOX 730182, DALLAS, TX 75373-0182
15755408          MERIT STEEL, ST ROUTE 8, KOUTS, IN 46347
15755409          METAL SYSTEMS OF MEXICO, LLC, KAPPA #425,, PARQUO INDUSTRIAL FINSA, APODACA,NL,66600,MEXICO
15755410        + METALLOY CO INC, 3728 ILLINOIS AVE, ST CHARLES, IL 60174-2421
15755411        + METOKOTE, 1540 CAINSVILLE RD., LEBANON, TN 37090-7722
15755412          METOKOTE DE MEXICO S DE RL DE CV, AV LA ESTACADA 302, SANTIAGO DE QUERETAR,,76220,MEXICO
15755413        + MEYER LABORATORY, INC, 2401 NW JEFFERSON ST, BLUE SPRINGS, MO 64015-7298
15755414        + MFA OIL COMPANY, 101 MCKEOWN PARKWAY, PO BOX 516, MOBERLY, MO 65270-0516
15755415        + MG MACHINE, LISA KNIGHT, PO BOX 620, 1232 E. CAMBRIDGE, BELTON, MO 64012-9023
15755417        + MICHIGAN TESTING INSTITUTE INC., 44249 PHOENIX DRIVE, STERLING HEIGHTS, MI 48314-1466
15755418        + MID-WEST SPRING MFG CO, 105 ETNA STREET, MENTONE, IN 46539-9116
15755420          MIDWEST RUBBER COMPANY, 3525 RANGE LINE ROAD, PO BOX 98, DECKERVILLE, MI 48427-0098
15755421        + MIDWEST TESTING LABORATORIES INC., 1072 WHEATON STREET, TROY, MI 48083-1927
15755422        + MILAN METAL SYSTEMS, 555 S PLATT RD, MILAN, MI 48160-9303
15755423          MILBANK LLP, 55 HUSDON YARDS, NEW YORK, NY 10001-2163
15755425        + MINITAB INC, 1829 PINE HALL ROAD, STATE COLLEGE, PA 16801-3008
15755426          MISCHKE, RON, CUSTOMER SUPPORT ENGINEERING, 4125 DOUGALL AVE., WINDSOR,ON,N9GIX5,CANADA
15755428        + MITSUBISHI, 6400 KATELLA AVE, CYPRESS, CA 90630-5208
15755429        + MITUTOYO CORPORATION, 965 CORPORATE BLVD., AURORA, IL 60502-9100
15755431        + MODERN AUTOMATION, 134 TENNSCO DRIVE, DICKSON, TN 37055-3000
15755432        + MOLEX INCORPORATED, 2222 WELLINGTON COURT, LISLE, IL 60532-1682
15755434        + MORGAN BIRGE & ASSOC INC, 119 W HUBBARD ST, 4TH FLOOR, CHICAGO, IL 60654-4526
15755435        + MOTION INDSUTRIES INC, 2570 WALKER NW, GRAND RAPIDS, MI 49544-1303
15755436        + MOTION INDUSTRIES INC, 800 EAST 2ND ST, MUSCLE SHOALS, AL 35661
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15755438        +   MOVEMENT SEARCH LLC., 20 W. WASHINGTON ST., SUITE 14, CLARKSTON, MI 48346-1576
15755439        +   MS METAL SOLUTIONS, INC., 11095 WEST OLIVE ROAD, GRAND HAVEN, MI 49417-9682
15755442        +   MST STEEL/FORD RESALE, 24417 GROESBECK HIGHWAY, WARREN, MI 48089-4723
15755441        +   MST Steel Corporation, 24417 GROESBECK HWY., WARREN, MI 48089-4786
15755443        +   MULTICRAFT INTERNATIONAL, FORMERLY TRILLOMA), 4341 HWY 80, PELAHATCHIE, MS 39145-2918
15755444        +   MULTITECH INDUSTRIES, 350 VILLAGE DRIVE, CAROL STREAM, IL 60188-1828
15755387        +   Macon County Shelterd Works, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755392        +   Matheson, 909 LAKE CAROLYN PKWY, SUITE 1300, IRVING, TX 75039-4821
15755394        +   McClain Tool & Technology, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755397        +   McMaster Carr Supply, 600 COUNTY LINE ROAD, ELMHURST, IL 60126-2081
15755403            Mentor Graphics Corporation, 8005 SW BOECKMAN RD., WILSONVILLE, OR 97070-7777
15755404        +   Mercedes-Benz AG, Burr & Forman LLP, Derek F. Meek, Esq., 420 20th Street North, Ste 3400, Birmingham, AL 35203-5210
15755405        +   Mercedes-Benz US international, LLC, Burr & Forman LLP, Derek F. Meek, 420 20th Street North, Ste 3400, Birmingham, AL
                    35203-5210
15755406        +   Mercedes-Benz US international, LLC, Andrew Boulter, Esq., CIPP/US, Local Compliance Officer & Corp Counsel, 1 Mercedes Drive,
                    Vance, AL 35490-2900
15755416        +   Michigan Spring & Stamping, 2700 WICKHAM DRIVE, MUSKEGON, MI 49441-3553
15755419        +   Midland Industries Inc., 1424 NORTH HALSTED STREET, CHICAGO, IL 60642-2689
15755430        +   Modern Automation, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755433            Moody's Investors Service, P.O. BOX 102597, ATLANTA, GA 30368-0597
15755437            Mountain Glacier LLC, 709 OAK HILL, EVANSVILLE, TX 78550
15755445        +   NALCO CROSSBOW WATER, LLC, 320 WEST 194TH STREET, GLENWOOD, IL 60425-1502
15755446        +   NATIONAL ELECTRIC & HARDWARE, 3220 FM 802, BROWNSVILLE, TX 78526-2831
15755448            NATIONAL MATERIAL OF MEXICO S DE RL DE C, SEXTA ORIENTE NO. 150, APODACA,NL,66600,MEXICO
15755449        +   NAVEX GLOBAL INC, 5500 MEADOWS RD STE 500, LAKE OSWEGO, OR 97035-3626
15755450        +   NAVIA BENEFITS SOLUTIONS, 600 NACHES AVE SW, RENTON, WA 98057-2217
15755451        +   NDK AMERICA INC, 425 N MARTINGDALE ROAD, SUITE 1330, SCHAUMURG, IL 60173-2237
15755452        +   NELSON & STORM TOOL, 2303 11TH ST, PO BOX 5447, ROCKFORD, IL 61125-0447
15755453            NEUMANN MUELLER OBERWALLENEY, OVERSTOLZENSTRASSE 2A, COLOGNE,,50677,GERMANY
15755454        +   NEW HORIZONS COMPUTER LEARN, 14115 FARMINGTON ROAD, LIVONIA, MI 48154-5457
15755455        +   NEWARK ELECTRONICS, 4801 N. RAVENSWOOD AVENUE, CHICAGO, IL 60640-4478
15755456        +   NEXEO PLASTICS, 8500 WILLOW SPRINGS RD, WILLOW SPRINGS, IL 60480-1223
15755457            NICRO SA DE CV, PIRUL NO 33 COL BELLAVISTA, TLALNEPANTLA,,54080,MEXICO
15755459        +   NIFAST CORPORATION, 815 CAROL CT., CAROL STREAM, IL 60188-9408
15755460        +   NISSAN MOTOR ACCEPTANCE CORP, ONE NISSAN WAY, FRANKLIN, TN 37067-6367
15755461        +   NITTO DENKO, 45880 DYLAN DRIVE, NOVI, MI 48377-4905
15755462        +   NITTO DENKO AUTOMOTIVE NJ, 1990 RUTGERS UNIVERSITY BLVD, LAKEWOOD, NJ 08701-4537
15755463        +   NITTO DENKO- VIRGINIA, 809 PRINCIPAL COURT, CHESAPEAKE, VA 23320-3639
15755464        +   NK MANUFACTURING TECHNOLOGIES, LLC, 1134 FREEMAN AVE SW, GRAND RAPIDS, MI 49503-4816
15755466        +   NMI TECHNICRAFT, PO BOX 397, 1007 NORTH MILITARY AVE, LAWRENCEBURG, TN 38464-2684
15755469            NORDSON EFD LLC, PO BOX 101767, ATLANTA, GA 30392-1767
15755470        +   NORTHERN TECHNOLOGIES INTL., 4201 WOODLAND ROAD, PO BOX 69, CIRCLE PINES, MN 55014-0069
15755471        +   NOVASTAR SOLUTIONS LLC, 35200 PLYMOUTH ROAD, LIVONIA, MI 48150-1456
15755472            NOVELIS DEUTSCHLAND GMBH, AM EISENWERK 30, PLETTENBERG-OHLE,,58840,GERMANY
15755473            NOVUMTECH, LLC (DIGITEC), 533 E 12TH ST, BROWNSVILLE, TX 78520-5017
15755447            National Instruments, 1150 NORTH MOPAC EXPRESSWAY, AUSTIN, TX 78759
15755465        +   Nmhg Financial Services, Inc., 201 MERRITT 7, NORWALK, CT 06851-1056
15755475            ODETTE INTERNATIONAL, 71 GREAT PETER ST., LONDON,,SW1P 2BN,UNITED KINGDOM
15755476        +   OILES AMERICA CORP., 4510 ENTERPDISE DR, CONCORD, NC 28027-6437
15755478        +   OMNEX ENGINEERING & MGNT INC, 325 E. EISENHOWER PARKWAY,, STE. 214, ANN ARBOR, MI 48108-3346
15755479        +   OMNI QUALITY ASSURANCE, LLC, 5424 E. GRAND RIVER AVE, SUITE #106, HOWELL, MI 48843-7170
15755481        +   OPTIC ARMOR, LLC, 450 BUSINESS PARK RD, LINN CREEK, MO 65052-2110
15755482        +   OPTIMAS OE SOLUTIONS LP, 2651 COMPASS ROAD, GLENVIEW, IL 60026-8004
15755484        +   ORBIS DIV OF MENASHA CORP, 131 BRENTWOOD DR., MOSCOW HILLS, MO 63362-2133
15755486        +   ORBITFORM GROUP, LLC, 1600 EXECUTIVE DRIVE, PO BOX 1469, JACKSON, MI 49204-1469
15755487        +   OSAI Auto System USA Corp, 10000 N Central Expy, Ste 710, Dallas, TX 75231-4157
15755488        +   OSBORN, 1100 RESOURCE DR., BROOKLYN HTS., OH 44131-1854
15755490        +   OVERHEAD DOOR OF ROCKFORD, 5012 28TH AVE, ROCKFORD, IL 61109-1719
15755474            Oakland University, ATHLETICS DEPARTMENT, ROCHESTER, MI 48309
15755477        +   Omnex Engineering & Mgmt. Inc., c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755480        +   OpenText Inc., 2950 SOUTH DELAWARE STREET,, SAN MATEO, CA 94403-2580
15755485        +   Orbitform, c/o Bankruptcy Claims Admin Services LLC, 100 Union Aveune, Suite 240, Cresskill, NJ 07626-2137
15755489        +   OutSolve, 3116 5TH STREET, METAIRIE, LA 70002-1711
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15755491            P&P FACILITY MANAGEMENT SPA, VIA MEUCCI 5, BRUINO,,10090,ITALY
15755493        +   PA-TED SPRING CO. INC, 137 VINCENT P. KELLY ROAD, BRISTOL, CT 06010-7489
15755495        +   PACIFIC X CORPORATION, 500 CARSON PLAZA DRIVE, SUITE 206, CARSON, CA 90746-7324
15755496        +   PALLET MANAGEMENT, PO BOX 4227, NAPERVILLE, IL 60567-4227
15755498        +   PARAGON TECHNOLOGIES, 2919 INTERSTATE STREET, CHARLOTTE, NC 28208-3607
15755503        +   PATRIARCH PARTNERS AGENCY SERVICES, LLC, ONE LIBERTY PLAZA, 35TH FLOOR, NEW YORK, NY 10006-1404
15755502        +   PATRIARCH PARTNERS AGENCY SERVICES, LLC, PATRIARCH PARTNERS, ONE LIBERTY PLAZA, 35TH FLOOR, NEW
                    YORK, NY 10006-1404
15755504        +   PATRIARCH PARTNERS AGENCY SERVICES, LLC, SKADDEN, ARPS, SLATE, MEAGHER & FLOM, ATTN: RON E. MEISLER,
                    155 N. WACKER DRIVE, CHICAGO, IL 60606-1787
15755510            PATSNAP (UK) LIMITED, 3RD FLOOR BUILDING 3, CHISWISK BUSINESS PARK, LONDON,,W4 5YA,UNITED KINGDOM
15755513        +   PAUL MUELLER PCKG SOLUTIONS, 8920 TRANSPORT LANE, OOLTEWAH, TN 37363-6502
15755514        +   PAULO PRODUCTS KANSAS CITY, 4830 CHELSEA, KANSAS CITY, MO 64130-2820
15755515            PENN ENGINEERING, 5190 OLD EASTON ROAD, DANBORO, PA 18916
15755516        +   PENN ENGINEERING AUTO, 50625 DESIGN LANE, SHELBY TOWNSHIP, MI 48315-3128
15755517        +   PENSKE TRUCK LEASING CO LP, 214 HERMITAGE AVE, NASHVILLE, TN 37210-2114
15755519        +   PERTECH LLC, 51 N RANGELINE ROAD, COLUMBIA, MO 65201-7470
15755520        +   PESA LABELING SYSTEMS, INC., 4401 PAREDES LINE ROAD, BROWNSVILLE, TX 78526-1117
15755522        +   PIER TOOL & DIE INC, 27369 ROYALTON ROAD, PO BOX, COLUMBIA STATION, OH 44028-9159
15755524            PITNEY BOWES GLOBAL FINANCIAL SERVICES L, PO BOX 371887, PITTSBURGH, PA 15250-7887
15755526        +   PIXELNEXT INC, 9111 CROSS CREEK PARK DR, D2000, KNOXVILLE, TN 37923-4506
15755527        +   PLAS TECH MOLDING & DESIGN, 7037B NORTH TRIPLETT ST, BRIMFIELD, IN 46794-9799
15755529        +   PLAST-O-FOAM, LLC, 24601 CAPITAL BLVD., CLINTON TOWNSHIP, MI 48036-1345
15755530        +   PLASTIC TRIM & STARBOARD IND, 3909 RESEARCH BLVD., DAYTON, OH 45430-2109
15755531        +   PLASTICS MOLDING COMPANY, 4211 NORTH BROADWAY, ST. LOUIS, MO 63147-3323
15755532        +   PLITT CRANE & EQUIPMENT INC, 2601 RL OSTOS ROAD, BROWNSVILLE, TX 78521-1020
15755533            PLS GMBH, SALZSTRABE 94, HEILBRONN, BADEN-WUERTTEMBERG,,74076,GERMANY
15755535        +   POLYONE DISTRIBUTION, 91 FITCHBURG RD., AYER, MA 01432-1003
15755536            POLYTECH NETTING INDUSTRIES, ENTRE PRIMERA Y CENTAURO DEL, NORTE, MATAMOROS,,87360,MEXICO
15755538        +   PORTER PRECISION, PRODUCTS, CO., 2734 BANNING ROAD, CINCINNATI, OH 45239-5504
15755541        +   PRECISION LASER & MFG., LLC, 80 MOTIVATION DRIVE, LAWRENCEBURG, TN 38464-7372
15755542            PREMIER FASTENERS INC, 22 CONSTELLATION COURT, ETOBICOKE,ON,M9V 1K1,CANADA
15755543        +   PREMIUM SERVICES INC, 25899 W. TWELVE MILE RD., SU, SOUTHFIELD, MI 48034-8329
15755544        +   PREVENTIA SECURITY LLC, PO BOX 1563, COLUMBIA, TN 38402-1563
15755547        +   PRIDGEON AND CLAY, INC., 50 COTTAGE GROVE SW, GRAND RAPIDS, MI 49507-1685
15755548            PRIMERA PRECISION CO., LTD., NO. 53, FENG CHENG STREET,, BADE,,33449,TAIWAN
15755549        +   PRITECH CORPORATION, 46036 MICHIGAN AVENUE, SUITE 188, CANTON, MI 48188-2304
15755550            PRO-OEM INDUSTRIAL SUPPLIES, 6F-2, 346 NANKING E. RD, SEC. 5, TIAPEI,,105,TAIWAN
15755551        +   PROCESS SCIENCES, INC., 310 SOUTH BRUSHY ST., LEANDER, TX 78641-1846
15755552        +   PROCESSMAP CORPORATION, 13450 WEST SUNRISE BLVD, SUITE 160, SUNRISE, FL 33323-2948
15755553        +   PROGRESSIVE FINISHES, INC., 501 INDUSTRIAL ROAD, ALABASTER, AL 35007-9148
15755554        +   PROSPECT COMMUNICATIONS, 1208 N. LOCUST AVENUE, PO BOX 156, LAWRENCEBURG, TN 38464-0156
15755555            PROXEMICS CONSULTING, 10080 ARBOUR DRIVE, BRIGHTON, MI 48114
15755556        +   PSC INDUSTRIES, INC., 745 S. 15TH STREET, LOUISVILLE, KY 40210-1011
15755494        +   Pacific X Auto Corporation, PACIFIC X - IL SIN TECH, 500 CARSON PLAZA DR., CARSON, CA 90746-7341
15755497        +   Papp Plastics & Distributing Ltd, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755500        +   Paragon Tempered Glass LLC, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755506        +   Patriarch Partners Management Group, LLC, Attn: Lynn G. Tilton, Manager, One Liberty Plaza, 35th Floor, New York, NY 10006-1404
15755507        +   Patriarch Partners Management Group, LLC, Attn: Legal Department, One Liberty Plaza, 35th Floor, New York, NY 10006-1404
15755508        +   Patriarch Partners Management Group, LLC, Skadden, Arps, Slate, Meagher & Flom LLP, Attn: Carl T. Tullson, 920 North King Street,
                    Wilmington, DE 19801-3356
15755509            Patriarch Partners Management Group, LLC, Skadden, Arps, Slate Meagher & Flom LLP, Attn: Ron E. Meisler, 155 North Upper Wacker
                    Drive Suite 2700, Chicago, IL 60605
15755512            Paul & Albrecht, Stresemannallee 4b, Neuss,,41460,Germany
15755511            Paul & Albrecht, HELLERSBERGST 18, NEUSS,,41460,GERMANY
15755518            Perfection Spring & Stamping, PO Box 275, 1449 East Algonquin Road, Mount Prospect, IL 60056-0275
15755521        +   Peterson Spring-CIMA Group, 21200 TELEGRAPH RD, SOUTHFIELD, MI 48033-4276
15755523        +   Pilkington North America Inc, 300 NORTHRIDGE RD, SHELBYVILLE, IN 46176-8954
15755525            Pittsburgh Glass Works LLC, 5066 S. R. 30, CRESTLINE, OH 44827
15755528        +   Plast O Foam, Llc c/o Fair Harbor Capita, PO Box 237037, New York, NY 10023-0028
15755537        +   Porter Precision, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755539        +   Precision Drive & Controls, 1650 S.GALENA AVE., FREEPORT, IL 61032-2518
15755540        +   Precision International Inc, PO BOX 3750, 305 PALM BLVD, BROWNSVILLE, TX 78520-5431
15755545            PriceWaterhouseCoopers, PO BOX 75647, CHICAGO, IL 60675-5647
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15755546             PricewaterhouseCoopers GmbH, MOSKAUER STR. 19, DUSSELDORF,,40227,GERMANY
15755557             Purchase Power, PO BOX 371874, PITTSBURGH, PA 15250-7874
15755558         +   QAD, INC., 10,000 MIDLANTIC DRIVE, SUITE 100, MT. LAUREL, NJ 08054-1542
15755559        #+   QAS Solutions, LLC, 2904 ESTATES DRIVE, VIRGINIA BEACH, VA 23454-1014
15755561         +   QUALITY MARKING SYSTEMS, 5690 W HEVERLY, PORTAGE, MI 49024-2200
15755560        #+   Quality Assurance Services, 2904 ESTATES DRIVE, VIRGINIA BEACH, VA 23454-1014
15755562         +   Quality Tool Company, 577 MEL SIMON DR, TOLEDO, OH 43612-4729
15755565         +   RANDOLPH CTY SHELTERED WKP, 1751 ROBERSTON RD, MOBERLY, MO 65270-3152
15755568             READY RIVET & FASTENER LTD, C/O THE COURT GROUP OF COMPANIES LTD., 490 ELIZABETH STREET,
                     BURLINGTON,ON ,L7R 2M2,CANADA
15755567             READY RIVET & FASTENER LTD, 170 HOLLINGER, KITCHNER,ON,N2K 2Z3,CANADA
15755573             RELATS SA, C/PRIORAT S/N PO IN LA BORDA, 08140 CALDES DE MONTBUI, BARCELONA,,,SPAIN
15755574        +    RELIABLE ANALYSIS, INC., 32201 N. AVIS DRIVE, MADISON HEIGHTS, MI 48071-1502
15755576        +    RESEARCH SOLUTIONS GROUP, PO BOX 1667, PELHAM, AL 35124-5667
15755577             RESISTANCE WELDING MACHINE, 255 PALLADIUM DRIVE, ST. JOSEPH, MI 49085-9552
15755578        +    RESOURCE RECOVERY STL INC, PO BOX 470608, ST LOUIS, MO 63147-7608
15755580        +    REVERE PLASTICS SYSTEMS, LLC, 1452 ROWE PARKWAY, POPLAR BLUFF, MO 63901-7012
15755581        +    RHINO ASSEMBLY, 7575-A WEST WINDS BLVD., CONCORD, NC 28027-3329
15755583        +    RM ACQUISTION , LLC, D/B/A RAND MCNALLY, 8770 W BRYN MAWR AVE, STE 1400, CHICAGO, IL 60631-3584
15755584        +    ROBBINS & BOHR LLC, 420 HUDSON ROAD, PO BOX 4046, CHATTANOOGA, TN 37405-0046
15755586        #    ROBERT BOSCH LLC, 2800 SOUTH 25TH AVE, BROADVIEW, IL 60155-4594
15755588        +    ROCKET SOFTWARE INC., 77 4TH AVE, WALTHAM, MA 02451-7565
15755590        +    ROLLED METAL PRODUCTS, 711 MADDOX SIMPSON PKWY, LEBANON, TN 37090-0756
15755591        +    RR DONNELLEY, 2001 WALTON RD, ST LOUIS, MO 63114-5805
15755592        +    RTI LABORATORIES INC, 33080 INDUSTRIAL RD, LIVONIA, MI 48150-1620
15755593        +    RUDOLPH BROS & CO, 6550 OLEY SPEAKS WAY, CANAL WINCHESTER, OH 43110-8274
15755594        +    RYERSON INC., 3001 ORCHARD VISTA DR. SE, GRAND RAPIDS, MI 49546-7078
15755564        +    Ramco Specialties, 5369 HUDSON DRIVE, HUDSON, OH 44236-3739
15755566             Randstad, PO BOX 2084, CAROL STREAM, IL 60132-2084
15755569        +    Redfish Recycling, 5250 COFFEE PORT ROAD, BROWNSVILLE, TX 78521-5361
15755570        +    Reising Ethington PC, Attn: Matthew Schmidt, 755 West Big Beaver Rd., Ste. 1850, Troy, MI 48084-4925
15755571        +    Reising Ethington PC, c/o Max J. Newman, Butzel Long, 41000 Woodward Ave, Bloomfield Hills, MI 48304-5130
15755572        +    Reising, Ethington PC, 755 W. BIG BEAVER SUITE 1850, TROY, MI 48084-4925
15755575        +    Res Manufacturing Company, 7801 N. 73RD STREET, MILWAUKEE, WI 53223-4023
15755579        +    Revere Plastic Systems, LLC, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755585        +    Robbins & Bohr, LLC, Joseph W. Robbins, Sr, 420 Hudson Rd, P.O. Box 4046, Chattanooga, TN 37405-0046
15755587        +    Rochester Midland, PO BOX 31515, ROCHESTER, NY 14603-1515
15755589        +    Rockford Toolcraft, Inc., 766 RESEARCH PARKWAY, ROCKFORD, IL 61109-2938
15755595        +    S&P GLOBAL RATINGS, 2542 COLLECTION CENTER DRIVE, CHICAGO, IL 60693-0025
15755596             S.C. ARGOMM RO S.R.L., CALEA ARADULUI DN69 KM. 7, TIMISOARA,,300645,ROMANIA
15755598             S.W. ANDERSON, 2425 WISCONSIN AVE., PO BOX 460, DOWNERS GROVE, IL 60515-0460
15755600        +    SAINT-GOBAIN PERFORMANCE PLASTICS, 150 DEY ROAD, WAYNE, NJ 07470-4670
15755601        +    SAMTEC INC, 520 PARK EAST BLVD, NEW ALBANY, IN 47150-7251
15755603             SAMUEL SON/FORD RESALE, PO BOX 71551, CHICAGO, IL 60694-4882
15755604        +    SANLO MANUFACTURING CO., 400 HWY. 212, PO BOX 1124, MICHIGAN CITY, IN 46361-8324
15755605        +    SAS RUBBER COMPANY INC, 474 NEWELL STREET, PAINESVILLE, OH 44077-1212
15755606             SC TMMC INDUSTRY SRL, STR CHIMISTILOR NR5-9, CLADIREA A CAMERA 28 ETAJ 1, TIMISOARA,,300571,ROMANIA
15755607        +    SCHLEGEL CORP, 1555 JEFFERSON RD., ROCHESTER, NY 14623-3196
15755610             SCI-LAB MATERIALS TESTING, 150 TRILLIUM DRIVE, KITCHENER,ON,N2E 2C4,CANADA
15755611        +    SEACO, 725 KEYSTONE DR, CLANTON, AL 35045-5483
15755612        +    SECURIT METAL PRODUCTS CO, 55905 92ND AVE, DOWAGIAC, MI 49047-9505
15755615        +    SECURITY MOLDING INC., 255 FACTORY ROAD, ADDISON, IL 60101-5035
15755618             SETSA - Sociedade de Engenharia e Transf, SOCIEDADE DE ENGENHARIA E TR, RUA AUGUSTO COSTA PICASSINOS,
                     MARINHA GRANDE,,2430-463,PORTUGAL
15755619             SHANGHAI SANFENG MOLD TLG CO, TOWER 5, LANE 135 GUOWEI RD, SHANGHAI,,200438,CHINA
15755620             SHAREGATE, 1751 RUE RICHARDSON, SUITE 5, MONTREAL,QC,H3K 1G6,CANADA
15755621        +    SHI INTERNATIONAL CORP, 1301 S MO-PAC EXPRESSWAY, SUITE 375, AUSTIN, TX 78746-6904
15755622             SHIMAFUJI ELECTRIC INC., NISHIKAMATA NS BLDG. 3F, 6-36-11 NISHIKAMATA OTAKU, TOKYO,,144-0051,JAPAN
15755623             SHOPKO STORES OPERATING CO, PO BOX 3016, MILWAUKEE, WI 53201-3016
15755624        +    SIC MARKING USA, 3812 WILLIAM FLYNN HIGHWAY, ALLISON PARK, PA 15101-3660
15755626        +    SIEMENS PLM SOFTWARE, 5400 LEGACY DRIVE, PLANO, TX 75024-3105
15755628        +    SIMPLIMATIC AUTOMATION, LLC, 1046 W. LONDON PARK DRIVE, FOREST, VA 24551-2164
15755629             SINO-MOLD INDUSTRIAL CO LTD, 1203 PARKWAY CENTER, CHANGAN TOWN, DONGGUAN,,523800,CHINA
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15755630           SINOTECH LTD., UNIT B RIVERSIDE END, RIVERSIDE INDUSTRIAL PARK, MARKET HARBOROUGH,,LE16 7PU,UK
15755632         + SMARTBEAR SOFTWARE, INC., 450 ARTISAN WAY, 4TH FLOOR, SOMERVILLE, MA 02145-1261
15755633         + SOUTHERN FLUIDPOWER, 4816 BONNY OAKS DRIVE, CHATTANOOGA, TN 37416-3803
15755634           SOUTHERN PRINTING SERVICE, PO BOX 651, LAWRENCEBURG, TN 38464-0651
15755639         + STEEL DYNAMICS/FORD RESALE, 4500 COUNTY ROAD 59, BUTLER, IN 46721-9747
15755640         + STEEL TECH/FORD RESALE, 15415 SHELBYVILLE RD., LOUISVILLE, KY 40245-4137
15755641         + STEEL TECHN./CHRYSLER RESALE, 15415 SHELBYVILLE ROAD, LOUISVILLE, KY 40245-4137
15755642           STEEL TECHNOLOGIES DE MEXICO, AVE. TRANSFORMACION #1000, PARQUE IND'L FINSA 3A ETAPA,
                   MATAMORAS,TAMAULIPAS,87316,MEXICO
15755643         + STEEL TECHNOLOGIES LLC, 700 N HURSTBOURNE PKWY #400, LOUISVILLE, KY 40222-5396
15755644         + STEINER ELECTRIC COMPANY, 1250 TOUHY AVENUE, ELK GROVE VILLAGE, IL 60007-4985
15755645         + STELFAST INC, 131 BUCKNELL CT, ATLANTA, GA 30336-2402
15755646         + STOCKTON HARDWARE, 116 N MAIN STREET, STOCKTON, IL 61085-1322
15755647         + STRANCO PRODUCTS, 250 GIBRALTAR DR, BOLINGBROOK, IL 60440-3623
15755649         + STUART C. IRBY CO., 1284 HEIL QUAKER BLVD., LA VERGNE, TN 37086-3515
15755651         + SUGAR CREEK ENTERPRISE LLC, 1379 COUNTY ROAD 1305, MOBERLY, MO 65270-5130
15755652           SUMEC MACHINERY & ELECTRIC, 198 CHANGJIANG RD, 17F SUMEC BUILDING, NANJING,,210018,CHINA
15755653         + SUMEEKO LTD, CMAI C/O SUMEEKO, 41400 EXECUTIVE DR, HARRISON TOWNSHIP, MI 48045-1307
15755654         + SUN PLASTECH INC, 1055 PARSIPPANY BLVD, SUITE, PARSIPPANY, NJ 07054-1230
15755655         + SUNDARAM INDUSTRIES LTD, C/O MESCO WAREHOUSE, 2401 LAPEER ROAD, FLINT, MI 48503-4350
15755656         + SUNDARAM INDUSTRIES PVT LTD, C/O UTI WAREHOUSE, 1350 CHEERS BLVD, BROWNSVILLE, TX 78521-4439
15755657         + SUNSOURCE, 2301 WINDSOR COURT, ADDISON, IL 60101-1460
15755659         + SUPPLY TECHNOLOGIES LLC, 30000 STEPHENSON HWY, UNIT C, MADISON HEIGHTS, MI 48071-1650
15755660        #+ SURGERE INC, 5399 LAUBY ROAD, SUITE 200, GREEN, OH 44720-1554
15755661           SUZHOU YING HAO PRECISION MO, NO. 666 JIANLIN RD., NEW & H, SUZHOU,,215000,CHINA
15755662           SWD INC, 910 S STILES DRIVE, ADDISON, IL 60101-4913
15755663         + SWD, Inc., Attn: R Dieken & R Delawder, 910 S. Stiles Dr., Addison, IL 60101-4913
15755602         + Samtec, Inc, Allen Platt, Esq. General Counsel, 520 Park East Boulevard, New Albany, IN 47150-7251
15755608         + Schneider National Inc, Attn: Credit Dept, 3101 Packerland Dr, Green Bay, WI 54313-6187
15755609         + Schneider National Inc, 2567 Paysphere Circle, Chicago, IL 60674-0001
15755613         + Securit Metal Products Co., c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755616         + Seidel Enterprises Inc, MOBERLY LUMBER CO., 500 NORTH AVENUE WEST, MOBERLY, MO 65270-2833
15755617         + Semblex Corporation, 900 N. CHURCH ROAD, ELMHURST, IL 60126-1162
15755625         + Siemens Industry Software Inc., 8005 S.W. Boeckman Road, Wilsonville, OR 97070-9733
15755635         + Spring Dynamics Inc., c/o Jessica Marco, 7378 Research Dr., Almont, MI 48003-8512
15755636         + Spring Dynamics Inc., c/o Max J. Newman, Butzel Long, 41000 Woodward Ave. Stoneridge West, Bloomfield Hills, MI 48304-5130
15755638           Staples Business Advantage, 5000 STAPLES DRIVE, FRAMINGHAM, MA 01702
15755648        #+ Structural Images LLC, 47151 CARTIER CT., WIXOM, MI 48393-2872
15755650         + Sugar Creek Enterprise LLC, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755658         + Superior Plus, LLC, PO BOX 82445, ROCHESTER, MI 48308-2445
15755664         + System Scale Corp., 1420 DONELSON PIKE STE B7, NASHVILLE, TN 37217-2927
15755666         + TARGET STEEL, INC., 24601 VREELAND RD., FLAT ROCK, MI 48134-1810
15755668         + TECHNICAL MAINTENANCE INC, 117 JETPLEX CIRCLE SUITE C4, MADISON, AL 35758-8958
15755669           TECNOLOGIA EN TRATAMIENTOS TERMICOS, SA, AVE SAN NICOLAS NO 3550, MONTERREY,,64710,MEXICO
15755671         + TEKNOR APEX TPE DIVISION, 31 FULLER ST, LEOMINSTER, MA 01453-4225
15755672         + TEKTRONIX SERVICE SOLUTIONS, 14200 SW KARL BRAUN DR, BEAVERTON, OR 97005-2384
15755674         + TENNESSEE DIE SUPPLY CO INC, TDS SPECIALTY METALS, 1111 FOSTER AVE, NASHVILLE, TN 37210-4405
15755675         + TENNESSEE STAMPINGS LLC, 1895 MINES ROAD, PO BOX 903, PULASKI, TN 38478-0903
15755676           TERCET PRECISION LTD, MILLARSTON INDUSTRIAL STATE, PAISLEY,,PA1 2XR,UNITED KINGDOM
15755677         + TF-METAL U.S.A., LLC, 70 PRECISION DR, WALTON, KY 41094-7464
15755678         + THE CROWN GROUP INC, 133 DAVIS ST, PORTLAND, TN 37148-2031
15755682         + THE EMC SHOP, 7401 GALILEE RD STE 160, ROSEVILLE, CA 95678-6923
15755684           THEOREM SOLUTIONS INC, PO BOX 54506, CINCINNATI, OH 45254-0506
15755687         + THULE INC, 42 SILVERMINE ROAD, SEYMOUR, CT 06483-3928
15755688         + THUNDER MFG USA INC., 1030 FORTUNE DRIVE, RICHMOND, KY 40475-9829
15755691         + TIANHAI ELECTRIC NORTH, 37735 ENTERPRISE CT, STE 400, FARMINGTON HILLS, MI 48331-3465
15755692           TMCC, STR CHIMISTILOR NR5-9CLADIREA A, CAMERA 28 ETAJ 1, TIMISOARA,,300571,ROMANIA
15755693         + TOAGOSEI AMERICA, INC., 1450 WEST MAIN STREET, WEST JEFFERSON, OH 43162-9730
15755694           TONY YZAGUIRRE, JR., 835 LEVEE ST, CAMERON COUNTY TAX OFFICE, BROWNSVILLE, TX 78522-0952
15755695         + TOOL DYNAMICS LLC, 835 S MARR RD, COLUMBUS, IN 47201-7437
15755696           TORNIPECAS, INDUSTRIA DE, TORNEARIA LDA, RUA PROF ANTONIO MARQUES, MAIA,,4425-364,PORTUGAL
15755700         + TOX PRESSOTECHNIK LLC, 4250 WEAVER PARKWAY, WARRENVILLE, IL 60555-3924
15755701         + TOYOTA BOSHOKU TENNESSEE LLC, 3300 RIDGECREST ROAD EXTENDE, JACKSON, TN 38305-7500
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15755703        +    TOYOTA TSUSHO AMERICA INC., 702 TRIPORT ROAD, GEORGETOWN, KY 40324-8974
15755704        +    TRANE U.S. INC., 601 GRASSMERE PARK DR., SUITE 26,, NASHVILLE, TN 37211-3664
15755705        +    TRANS TECH, 475 NORTH GARY AVENUE, CAROL STREAM, IL 60188-4900
15755706       ++    TRELLEBORG BUILDING SYSTEMS, 285 LENA DRIVE, AURORA OH 44202-9247 address filed with court:, Trelleborg Building
                     Systems, Les Plant, Controller, 285 Lena Dr., Aurora, OH 44202
15755707        +    TRELLEBORG BUILDING SYSTEMS, 1151 BLOOMINGDALE ROAD, BRISTOL, IN 46507-8403
15755709        +    TRENT CREATIVE, 114 E. 2ND ST., ROCHESTER, MI 48307-2000
15755710             TRESCAL INC., PO BOX 559, HARTLAND, MI 48353-0559
15755711        +    TRI MATIC SPRING CO, 535 INDUSTRIAL ROAD, PO BOX 1358, SAVANNAH, TN 38372-4358
15755713        +    TRIGO Quality Soultions US Inc., 50459 CENTRAL INDUSTRIAL DR, SHELBY TOWNSHIP, MI 48315-3114
15755714             TRINIDAT, BENRATHER STRASSE 7, DUSSELDORF,,40213,GERMANY
15755715             TRINITY TECH INC., 155 REXDALE BLVD,, UNIT # 502, ETOBICOKE,ON,M9W MZ8,CANADA
15755716        +    TRMI, INC./TOYOTA RESALE, 100 HILL BRADY ROAD, BATTLE CREEK, MI 49037-7301
15755717        +    TTI INC, 6480 ROCKSIDE WOODS BLVD, STE 110, INDEPENDENCE, OH 44131-2222
15755718             TTM TECHNOLOGIES TRADING, 18/F METROPOLE SQUARE,, 2 ON YIU STREET, SHATIN, HONG KONG,,,HONG KONG
15755719        +    TWIST INC., 47 SOUTH LIMESTONE STREET, JAMESTOWN, OH 45335-9501
15755720             TYCO INTEGRATED SECURITY, PO BOX 371967, PITTSBURGH, PA 15250-7967
15755665        +    Ta Chen Int'l (Ca) Corp, 5855 OBISPO AVE, LONG BEACH, CA 90805-3715
15755673             Tennant Sales & Service Co, 701 N LILAC DRIVE, PO BOX 1452, MINNEAPOLIS, MN 55440-1452
15755679             The Crown Group, Inc., Babst Calland, Attn: EKD/DWR, Two Gateway Center, 7th Floor, Pittsburgh, PA 15222
15755680        +    The Crown Group, Inc., PO Box 809332, Chicago, IL 60680-9332
15755681        +    The EMC Shop, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755683        +    The Gleason Works, 1000 University Avenue, Rochester, NY 14607-1286
15755686        +    Thompson IG, LLC, 3196 THOMPSON ROAD, FENTON, MI 48430-9799
15755689        +    Thunder Mfg. USA Inc., Jaffe Raitt Heuer & Weiss, P.C., Attn: Paul R. Hage, 27777 Franklin, Suite 2500, Southfield, MI 48034-8214
15755690             Thunder Mfg. USA Inc., Attn: Rakesh Choudhary, 975 Martin Grove Road, Toronto,ON,M9W 4V6,Canada
15755697        +    Total Filtration Services, 2521 COMMERCIAL DR., AUBURN HILLS, MI 48326-2413
15755699        +    Tower Oil, 4300 S. TRIPP AVE., CHICAGO, IL 60632-4319
15755708        +    Trelleborg Building Systems, Clark Hill PLC, Attn: Shannon L. Deeby, 151 S. Old Woodward Avenue Suite 200, Brimingham, MI
                     48009-6103
15755712        +    Tri Matic Spring Co., c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755721        +    U.S. Customs and Border Protection, Attn: Revenue Division, Bankruptcy Team, 6650 Telecom Dr., Suite 100, Indianapolis, IN
                     46278-2010
15755723        +    UNIFORM COLOR COMPANY, 942 BROOKS AVE, HOLLAND, MI 49423-5337
15755724             UNIGASKET SRL, VIA LOMBARDIA 16, VILLONGO BG,,24060,ITALY
15755725             UNIQUE FABRICATING DE MEXICO SA DE CV, CALLE GEO #200, GUADALUPE,,67190,MEXICO
15755730        +    UNIVERSAL POLYMER & RUBBER, 15730 SOUTH MADISON RD., MIDDLEFIELD, OH 44062-8408
15755732             URYU & ITOGA, ARK MORI BLDG 36F, 1-12-32 AKASAKA, MINATO-KU,,107-6036,JAPAN
15755726        +    Unique Fabricating Inc, 800 STANDARD PARKWAY, AUBURN HILLS, MI 48326-1415
15755728        +    United American Ins. Co., ATTN: SPECIAL MARKETS, PO BOX 3650, MCKINNEY, TX 75070-8201
15755731        +    Universal Polymer & Rubber Ltd., c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755733        +    VALLEY TOOL & DIE STAMPINGS, INC., 6408 WEST US 24, LOGANSPORT, IN 46947-6901
15755734     ++++    VALSPAR CORPORATION, 95 PINNACLE DR, JACKSON TN 38301-5318 address filed with court:, Valspar Corporation, 95
                     QUAKER OATES DRIVE, JACKSON, TN 38301
15755735        #+   VANGUARD CLEANING SYSTEMS, OF GREATER DETROIT, 2386 FRANKLIN ROAD, BLOOMFIELD HILLS, MI 48302-0332
15755736             VANTAGE PRODUCTS CO., LTD., ROOM 5002, NO. 1559 ZU CHONGZHI ROAD, PUDONG NEW AREA,,201203,CHINA
15755739        +    VENDTEK, 47757 WEST ROAD, C103, WIXOM, MI 48393-4739
15755740             VENTURE STEEL DE MEXICO S DE RL DE CV, AVENIDA JOSE VASCONCELOS, SAN PEDRO GARZA G.,,66265,MEXICO
15755741        +    VERSATILE FABRICATIONS CO, INC, 2708 NINTH STREET, MUSKEGON HEIGHTS, MI 49444-1945
15755742        +    VI-CHEM, 55 COTTAGE GROVE ST SW, GRAND RAPIDS, MI 49507-1646
15755744        +    VIKING PRODUCTS, INC, 3710 NORTHRIDGE DRIVE NW, GRAND RAPIDS, MI 49544-9137
15755745        +    VINTECH INDUSTRIES INC., 609 FOLK COURT, IMLAY CITY, MI 48444-1355
15755746        +    VIP Pack.USA LLC, 211 W 8TH ST, LOS FRESNOS, TX 78566-3803
15755748             VITRICA SA DE CV, AV. DEL PARQUE NO 5 CORREDOR, INDUSTRIAL TOLUCA LERMA, LERMA,,52004,MEXICO
15755749             VITRO AUTOMOTRIZ SA DE CV, CARRETERA A GARCIA KM 10.3, GARCIA,,66000,MEXICO
15755752        +    VIVACQUA LAW PLLC, 3101 E. EISENHOWER PARKWAY, SUITE 1, ANN ARBOR, MI 48108-3228
15755754             VLM EMBALAJES S DE RL MI, CARRETERA A CD. VICTORIA K.M, MATAMOROS,TAMAULIPAS,87300,MEXICO
15755755        +    VLS-ARMOR LLC, 101 SOUTH PARK DRIVE, MT PLEASANT, TN 38474-1076
15755757             VM COMP, Nicolae Vladimir Lecca, 114 Calea Bucuresti Str, Stefanesti-Arges,,117715,Romania
15755756             VM COMP, 114 BUCURESTI-PITESTI RD., STEFANESTI - ARGES,,117715,ROMANIA
15755758        +    VOESTALPINE ROTEC INC., 3709 US 52 SOUTH, PO BOX 4127, LAFAYETTE, IN 47903-4127
15755759             VOK PRECISION TECHNOLOGY CO, SECOND FLOOR D BUILDING, NO 2 INDUSTRAIL ZONE, BAOAN
                     DISTRICT,,518104,CHINA
15755737        +    Vector CANtech, Inc, 39500 ORCHARD HILL PLACE, SUITE 550, NOVI, MI 48375-5378
                            Case 19-12369-KBO                   Doc 24          Filed 01/01/21            Page 13 of 16
District/off: 0311-1                                              User: Cheryl                                                       Page 11 of 14
Date Rcvd: Dec 30, 2020                                           Form ID: 309D                                                    Total Noticed: 657
15755738             + Vendor Recovery Fund IV, LLC, PO Box 669, Smithtown, NY 11787-0710
15755743               Vibro Industries, Inc., PO BOX 209, RR#1 SR 3006, PORT ROYAL, PA 17082
15755747             + Vitrica S.A De C.V., Jaffe Raitt Heuer & Weiss, P.C., Attn: Paul R. Hage, 27777 Franklin, Suite 2500, Southfield, MI 48034-8214
15755750               Vitro Automotriz, S.A. de C.V., Cohen & Grigsby, P.C., Thomas D. Maxson, Esq., 625 Liberty Avenue, Pittsburgh, PA 15222-3152
15755753             + Vivacqua Law, PLLC, 3101 E. Eisenhower Parkway, Ann Arbor, MI 48108-3228
15755760             + W.W. Grainger, Inc., 401 South Wright Road W4W.R47, Janesville, WI 53546-8729
15755761             + WABTEC RUBBER PRODUCTS, 269 DONOHUE RD., GREENSBURG, PA 15601-6987
15755762             + WACHOVIA CAPITAL FINANCE CORPORATION (CE, 100 PARK AVENUE, FLOOR 3, NEW YORK, NY 10017-5562
15755763             + WALD, LLC, 800 E. FIFTH ST, PO BOX 10, MAYSVILLE, KY 41056-0010
15755766             + WARREN SCREW PRODUCTS, 13201 STEPHENS RD, WARREN, MI 48089-4378
15755767             + WEIGHT & TEST SOLUTIONS, INC, 2000 W EXPRESSWAY 83, SAN BENITO, TX 78586-2758
15755768             + WEIMER BEARING & TRANSMISSIO, W134 N5368 CAMPBELL DRIVE, MENOMONEE FALLS, WI 53051-7022
15755769             + WELCH PACKAGING GROUP, D/B/A COOPER CONRAINER CORP, 204 KIRBY DRIVE, LEXINGTON, TN 38351-4775
15755770             + WELLMAN ADVANCED MATERIALS, 520 KINGSBURG HIGHWAY, JOHNSONVILLE, SC 29555-8011
15755775             + WEST MICHIGAN PLASTICS INC, 5745 W 143RD AVE, HOLLAND, MI 49423-8746
15755776               WESTAFLEX TUBOS FLEXIVIES LT, RODOVIA DO XISTO BR 476 KM, 41 N6283, CONTENDA,,8373-000,BRAZIL
15755777               WESTAFLEXWERK GMBH, THADDAUSSTR. 5, GUTERSLOH,,33334,GERMANY
15755782             + WHITLAM GROUP, 24800 SHERWOOD AVE, CENTERLINE, MI 48015-1059
15755784               WILSON TOOL CANADA, PUNCHING & STAMPING DIVISION, 3115 KENNEDY ROAD, SCARBOROUGH,ON,M1V
                       4Y1,CANADA
15755785               WILSON TOOL INTERNATIONAL IN, 12912 FAMBAM AVENUE, WHITE BEAR LAKE, MI 55110
15755786             + WINCHESTER COATINGS INC., 1600 FORTUNE DRIVE, PO BOX 60, WINCHESTER, KY 40392-0060
15755787             + WINTRISS CONTROLS GROUP, LLC, 100 DISCOVERY WAY, ACTON, MA 01720-4483
15755789             + WOLFRAM RESEARCH INC, 100 TRADE CENTER DRIVE, CHAMPAIGN, IL 61820-6858
15755793             + WORTHINGTON STEEL/FORD RESAL, 1085 DEARBORN DRIVE, COLUMBUS, OH 43085-1542
15755795             + WRIGHT PLASTIC PRODUCTS, 201 CONDENSERY ROAD, SHERIDAN, MI 48884-9654
15755797             + WRIGHT PLASTIC PRODUCTS CO., 2021 CHRISTIAN B HAAS, ST. CLAIR, MI 48079-4297
15755798               WUXI GUANGSHUO PRECISION MAC, 13&NO.14 FACTORY BUILDING, WANGZHUANG INDUSTRIAL PARK,
                       WUXI,,214000,CHINA
15755764             + Wald, LLC, Attn: Ralph Pawsat, President, PO Box 10, Maysville, KY 41056-0010
15755765             + Wald, LLC, W. Timothy Miller, Taft Law, 425 Walnut St., Suite 1800, Cincinnati, OH 45202-3920
15755772             + Wells Fargo Equipment Finance, Inc., Wells Fargo Vendor Financial Services, 1010 Thomas Edison Blvd, SW, Cedar Rapids, IA
                       52404-8247
15755773             + Wells Fargo Equipment Finance, Inc., PO Box 856937, Minneapolis, MN 55485-6937
15755778               Westchester Fire Insurance Company, Duane Morris LLP, Wendy M. Simkulak, Esquire, 30 S. 17th Street, Philadelphia, PA 19103-4196
15755779             + Westchester Fire Insurance Company, c/o Chubb f/k/a ACE, Attn: Collateral Manager, 436 Walnut Street, Philadelphia, PA 19106-3703
15755780             + Whitesell Corp., 450 TOWER BOULEVARD, CAROL STREAMS, IL 60188-5210
15755781             + Whitlam Group, c/o Bankruptcy Claims Admin Services LLC, 100 Union Avenue, Suite 240, Cresskill, NJ 07626-2137
15755783             + Wiese Planning (Columbia,MO, 7700 I-70 DRIVE SE, COLUMBIA, MO 65201-7047
15755788             + Wizard International, 4600 116TH STREET SW, MUKILTEO, WA 98275-5301
15755790             + Workday, Inc., 6110 Stoneridge Mall Road, Pleasanton, CA 94588-3211
15755792             + World Testing Inc., 72 EAST HILL STREET, MT. JULIET, TN 37122-3022
15755794             + Worthington/Chrysler Resale, 100 WORTHINGTON DRIVE, PORTER, IN 46304-8812
15755796             + Wright Plastic Products Co, LLC, 201 E Condensery Road, Sheridan, MI 48884-9654
15755799             + XCENTRIC MOLD & ENGINEERING, 24541 MAPLEHURST DR, CLINTON TOWNSHIP, MI 48036-1352
15755800               Xerox Corporation, GENERAL SECTOR CBC, PO BOX 660501, DALLAS, TX 75266-0501
15755801             + Xpedx, 1223 HEIL QUAKER BLVD., LA VERGNE, TN 37086-3516
15755803             + YOUNG TECHNOLOGY INC, 900 W. FULLERTON AVE, ADDISON, IL 60101-3306
15755802             + Yokohama Industries Americas Inc., 103 KULHMAN BLVD., VERSAILLES, KY 40383-1527
15755804             + ZELEDYNE LLC, 7200 W CENTENNIAL BLVD., NASHVILLE, TN 37209-1013
15755805               ZHENGDAO PARTS CO LTD, 15# DIAOYUTAI RD, E&T ZONE, NINGGUO,,242300,CHINA
15755806             + Zohar II 2005-1, Limited, c/o FTI COnsulting, Inc., Attention: Michael Katzenstein, 3 Times Square, New York, NY 10036-6564
15755807             + Zohar II 2005-1, Limited, Young Conaway Stargatt & Taylor, LLP, Robert S. Brady, 1000 North King Street, Wilmington, DE
                       19801-3335
15755808             + Zohar II 2005-1, Limited, Young Conaway Stargatt & Taylor, LLP, Robert S. Brady, James L. Patton, 1000 North King Street,
                       Wilmington, DE 19801-3335
15755809             + Zohar III, Limited, c/o FTI Consulting, Inc., Attn: Michael Katzenstein, 3 Times Square, New York, NY 10036-6564
15755810             + Zohar III, Limited, Young Conaway Stargatt & Taylor, LLP, James L. Patton, Rodney Square 1000 North King Street, Wilmington, DE
                       19801-3335
15755811             + Zohar III, Limited, Young Conaway Stargatt & Taylor, LLP, Michael R. Nestor, Rodney Square 1000 North King Street, Wilmington, DE
                       19801-3335

TOTAL: 633

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
                             Case 19-12369-KBO                      Doc 24          Filed 01/01/21              Page 14 of 16
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Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
15755252               + EDI: IRS.COM
                                                                                        Dec 31 2020 01:43:00      Department of Treasury - Internal Revenu, 31
                                                                                                                  HOPKINS PLAZA, RM 1150, BALTIMORE,
                                                                                                                  MD 21201-2810
15755263                  Email/Text: Kathy.Bredenkamp@Element.com
                                                                                        Dec 30 2020 20:49:00      ELEMENT MATERIALS TECHNOLOGY, 3701
                                                                                                                  PORT UNION ROAD, FAIRFIELD, OH 45014
15755304               + EDI: WFFC.COM
                                                                                        Dec 31 2020 01:43:00      HYG FINANCIAL SERVICES, 800 WALNUT
                                                                                                                  STREET, DES MOINES, IA 50309-3605
15755307               + Email/Text: anyboer@informsinc.com
                                                                                        Dec 30 2020 20:50:46      INFORMS, 13055 RILEY STREET, HOLLAND,
                                                                                                                  MI 49424-7240
15755308               + Email/Text: anyboer@informsinc.com
                                                                                        Dec 30 2020 20:50:46      Informs, Inc., 13055 Riley Street, Suite 10,
                                                                                                                  Holland,, MI 49424-7240
15755339               + Email/Text: AR@KEYENCE.COM
                                                                                        Dec 30 2020 20:50:00      KEYENCE CORP OF AMERICA, 669 RIVER
                                                                                                                  DRIVE, STE. 403, ELMWOOD PARK, NJ
                                                                                                                  07407-1361
15755440               + Email/Text: creditdept3rdpartyBKR@mscdirect.com
                                                                                        Dec 30 2020 20:50:00      MSC INDUSTRIAL SUPPLY, 501 LIGON
                                                                                                                  DRIVE, NASHVILLE, TN 37204-2839
15755398               + Email/Text: 4payment@correspondence.mcmaster.com
                                                                                        Dec 30 2020 20:51:00      McMaster-Carr, 6100 FULTON IND. BLVD,
                                                                                                                  ATLANTA, GA 30336-2853
15755427               + Email/Text: ecfnotices@dor.mo.gov
                                                                                        Dec 30 2020 20:50:00      Missouri Department of Revenue, PO Box 475,
                                                                                                                  Jefferson City, MO 65105-0475
15755458               + Email/Text: Lynda.Summers@Minster.com
                                                                                        Dec 30 2020 20:51:00      NIDEC MINSTER CORPORATION, 240 W 5TH
                                                                                                                  STREET, MINSTER, OH 45865-1065
15755467               + Email/Text: ar@nordsonasymtek.com
                                                                                        Dec 30 2020 20:50:00      NORDSON ASYMTEK, 2747 LOKER AVENUE
                                                                                                                  WEST, CARLSBAD, CA 92010-6601
15755468               + Email/Text: BankruptcyNotices@nordson.com
                                                                                        Dec 30 2020 20:51:00      Nordson Corporation, 300 NORDSON DRIVE,
                                                                                                                  AMHERST, OH 44001-2422
15755483               + Email/Text: credithelp@orbiscorporation.com
                                                                                        Dec 30 2020 20:51:00      ORBIS, 1055 COPRORATE CENTER DRIVE,
                                                                                                                  OCONOMOWOC, WI 53066-4829
15755501               + Email/Text: ssberna@parker.com
                                                                                        Dec 30 2020 20:51:00      Parker-Hannifin Corporation, Sandra J. Sberna,
                                                                                                                  Credit Analyst Corp.H.Q., 6035 Parkland Blvd.,
                                                                                                                  Cleveland, OH 44124-4186
15755631               + Email/Text: pattersond@siskin.com
                                                                                        Dec 30 2020 20:51:00      SISKIN STEEL & SUPPLY CO INC, 4040
                                                                                                                  JORDONIA STATION RD., NASHVILLE, TN
                                                                                                                  37218-2400
15755599               + Email/Text: bankruptcy@safety-kleen.com
                                                                                        Dec 30 2020 20:50:00      Safety-Kleen Systems, Inc., BRANCH SALES
                                                                                                                  AND SERVICE DIV, 2217 WESTERN AVE.,
                                                                                                                  SOUTH BEND, IN 46619-3312
15755637               + Email/Text: MCLAUGHLIN@SPRELEC.COM
                                                                                        Dec 30 2020 20:51:00      Springfield Electric, 737 N MADISON ST, PO
                                                                                                                  BOX 297, ROCKFORD, IL 61105-0297
15758559               + Email/Text: REV_Bankruptcy_General@state.de.us
                                                                                        Dec 30 2020 20:50:00      State of Delaware, Division of Revenue, 820 N.
                                                                                                                  French Street, 8th Floor, Wilmington, DE
                                                                                                                  19801-3509
15755670                  Email/Text: payrolldepartment@teknorapex.com
                                                                                        Dec 30 2020 20:50:00      Teknor Apex Company, Attn: Bruce Galletly,
                                                                                                                  Director of Credit, 505 Central Avenue,
                                                                                                                  Pawtucket, RI 02861-1900
15755685               + Email/Text: credit@thermotron.com
                                                                                        Dec 30 2020 20:50:00      THERMOTRON INDUSTRIES, 291 KOLLEN
                                                                                                                  PARK RD., HOLLAND, MI 49423-3487
15755706                  Email/Text: les.plant@trelleborg.com
                                                                                        Dec 30 2020 20:50:00      Trelleborg Building Systems, Les Plant,
                                                                                                                  Controller, 285 Lena Dr., Aurora, OH 44202
15755698               + Email/Text: jwells@tql.com
                                                                                        Dec 30 2020 20:51:00      Total Quality Logistics, LLC, Attn: Joseph Wells,
                                                                                                                  Asst. Corp. Counsel, 4289 Ivy Pointe Blvd.,
                            Case 19-12369-KBO                    Doc 24         Filed 01/01/21            Page 15 of 16
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                                                                                                            Cincinnati, OH 45245-0002
15755722              + Email/Text: accounts.receivable@uline.com
                                                                                   Dec 30 2020 20:51:00     Uline, 2200 S LAKESIDE DRIVE,
                                                                                                            WAUKEGAN, IL 60085-8311
15755741              + Email/Text: gwenh@versatile-fabrication.com
                                                                                   Dec 30 2020 20:51:00     VERSATILE FABRICATIONS CO, INC, 2708
                                                                                                            NINTH STREET, MUSKEGON HEIGHTS, MI
                                                                                                            49444-1945
15755771              + EDI: WFFC.COM
                                                                                   Dec 31 2020 01:43:00     WELLS FARGO EQUIPMENT, 420
                                                                                                            MONTGOMERY ST, SAN FRANCISCO, CA
                                                                                                            94104-1298
15755774              + EDI: WFFC.COM
                                                                                   Dec 31 2020 01:43:00     WELLS FARGO EQUIPMENT FINANCE, INC.,
                                                                                                            420 MONTGOMERY STREET, SAN
                                                                                                            FRANCISCO, CA 94104-1207

TOTAL: 26


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
15755209                      Bungartz Christophersen Partnerschaft, Wire Instructions in QA2 Notes
15755534                      POLENAK LAW FIRM, STR ORCE NIKOLOV 98, SKOPJE,,01000,NORTH MACEDONIA
15755751                      Vitro Automotriz, S.A. de C.V., M nica Chapa Espinosa, Avenida Ricardo Margain Zozaya #400, San Pedro Garza Garc aNuevo
                              Le n 66265MX
15755791                      Workday, Inc., Wire Instructions Saved in QA2 Notes
aty             *+            Jeoffrey L. Burtch, P.O.Box 549, Wilmington, DE 19899-0549
15755250        *             Department of Treasury - Internal Revenu, P.O. Box 7317, Philadelphia, PA 19101-7317
15755251        *             Department of Treasury - Internal Revenu, P.O. Box 7346, Philadelphia, PA 19101-7346
15755268        *+            Erbsloeh Aluminum Solutions, Inc., 6565 S. Sprinkle Rd., Portage, MI 49002-9717
15755505        *+            PATRIARCH PARTNERS AGENCY SERVICES, LLC,, ONE LIBERTY PLAZA, 35TH FLOOR, NEW YORK, NY
                              10006-1404
15755563        *+            Quality Tool Company, 577 Mel Simon Drive, Toledo, OH 43612-4729
15755727        *+            UNIQUE FABRICATING, INC, 800 STANDARD PARKWAY, AUBURN HILLS, MI 48326-1415
15755142        ##+           ADCO/ROYAL ADHESIVES&SEALANT, 4401 PAGE AVENUE, PO BOX 457, MICHIGAN CENTER, MI 49254-0457
15755181        ##+           Arbon Equipment Corporation, 461 HARDING INDUSTRIAL DRIVE, NASHVILLE, TN 37211-3105
15755248        ##+           DELCHEM, INC., 1318 E. 12TH STREET, WILMINGTON, DE 19802-5301
15755283        ##++++        FESTO CORPORATION, 47 WIRELESS BLVD, HAUPPAUGE NY 11788-3939, address filed with court:, Festo Corporation,
                              395 MORELAND ROAD, HAUPPAGUE, NY 11788
15755325        ##+           Justin Laity, 312 E QUEEN AVE, STOCKTON, IL 61085-1432
15755344        ##+           KOH YOUNG AMERICA, INC., 6150 W. CHANDLER BLVD. SUIT, CHANDLER, AZ 85226-3463
15755424        ##+           MILL STEEL CO, 5116 36TH ST, GRAND RAPIDS, MI 49512-2010
15755492        ##+           P.U. EQUIPMENT, 4319 NORCROSS ROAD, HIXSON, TN 37343-4813
15755499        ##+           Paragon Tempered Glass, 1830 TERMINAL RD, PO BOX 1042, NILES, MI 49120-1042
15755582        ##+           RICHARDS ELECTRIC MOTORS, 426 STATE STREET, QUINCY, IL 62301-4146
15755597        ##+           S.S. WHITE TECHNOLOGIES INC., 151 OLD NEW BRUNSWICK ROAD, PISCATAWAY, NJ 08854-3708
15755614        ##+           SECURITY LIFE OF DENVER, 8055 E TUFTS AVE, DENVER, CO 80237-3019
15755627        ##+           SILICONEXPERT TECHNOLOGIES,, 1455 NW IRVING ST, SUITE 200, PORTLAND, OR 97209-2275
15755667        ##+           TATA TECHNOLOGIES, INC., 41050 W. ELEVEN MILE RD, NOVI, MI 48375-1981
15755702        ##            TOYOTA FINANCIAL SERVICES COMMERCIAL FIN, PO BOX 3457, TORRANCE, CA 90510-3457
15755729        ##+           UNITED RENTALS JACKSON, TENNESSEE BRANCH, 174 KENWORTH BLVD, JACKSON, TN 38305-9373

TOTAL: 4 Undeliverable, 7 Duplicate, 16 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
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District/off: 0311-1                                             User: Cheryl                                                         Page 14 of 14
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the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 01, 2021                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 30, 2020 at the address(es) listed
below:
Name                            Email Address
Daniel N. Brogan
                                on behalf of Debtor Dura G.P. dbrogan@bayardlaw.com kmccloskey@bayardlaw.com

Erin R Fay
                                on behalf of Debtor Dura G.P. efay@bayardlaw.com kmccloskey@bayardlaw.com

Jeoffrey L. Burtch
                                jburtch@burtchtrustee.com DE04@ecfcbis.com;sbridgett@burtchtrustee.com;vhinton@burtchtrustee.com

Jeoffrey L. Burtch
                                on behalf of Trustee Jeoffrey L. Burtch jburtch@burtchtrustee.com
                                sbridgett@burtchtrustee.com;DE04@ecfcbis.com;vhinton@burtchtrustee.com


TOTAL: 4
